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                                                                                                                EXHIBIT A



  . CT Corporation                                                         Service of Process
                                                                           Transmittal
                                                                           05/28/2019
                                                                           CT Log Number 535563359
   TO:     Serviceof Process
           CVS Health Companies
           1 Cvs Dr Mail Code 1160
           Woonsocket, RI 02895-6146

   RE:     Process Served in Mississippi

   FOR:    CVS Pharmacy, Inc. (Domestic State: RI)




   ENCLO SED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS!

   TITLE OF ACTION1                 Roclavall County, Pltf. vs. Purdue Pharma, L.P., et al., Dfts. // To: CVS Health
                                    Name discrepancy noted.
   DOCUMENT(S) SERVED:              LETTER, CITATION, RETURN, PETITION
   CO URT/AGENCYl                   439 District Court Rockwall County, TX
                                    Case# 1190503
   NATURE OF ACTION:                Product Liability Litigation - Drug Litigation - Opioids
   ON WHOM PROCESS WA S SERVED:     C T Corporation System, Flowood, MS
   DATE AND HOUR OF SERVICEI        By Certified Mail on 05/28/2019 postmarked on 05/22/2019
   JURISDICTION SERVED l            Mississippi
   APPE ARANCE OR ANSWER DUE:       At or before 10:00 A.M. of the Monday next after the expiration of 20 days after the
                                    date of service hereof (Document(s) may contain additional answer dates
   ATTORNEY(S) / SENDER(S):         Matthew R. Mccarley
                                    FEARS NACHAWATI, PLLC
                                    5473 Blair Road
                                    Dallas, TX 75231
                                    214-890-0711
   REMARKSl                         Please note even though the documents are directed to CVS HEALT H, our records
                                    indicate that we are agent for all entities beginning with this name and they all
                                    share the same delivery instructions.
   ACTION ITEMSl                    CT has retained the current log, Retain Date: 05/29/2019, Expected Purge Date:
                                    06/03/2019
                                    Image SOP
                                    Email Notification, Serviceof Process Service_of_Process@cvs.com

   SIGNED:                          C T Corporation System
   ADDRESSl                         645 Lakeland East Drive
                                    Suite 101
                                    Flowood, MS 39232
   TELEPHONE:                       214-932-3601




                                                                            Page 1 of 1 / JN
                                                                           Information displayed on this transmittal Is for CT
                                                                           Corporation's record keeping purposes only and Is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action, Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
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                                                                            Filed: 4/10/2019 3:47 PM
                                                                                   Lea Carlson,
                                                                                   District Clerk
                                                                                   Rockwall County, Texas
                                                                                   Jeni Holt
                                               1-19-0503
                                      Cause No. _________________________

               Rockwall County                            §                    In the District Court
                                                          §
                    Plaintiff,                            §
               v.                                         §
                                                          §
               Purdue Pharma, L.P.; Purdue                §
               Pharma Inc.; The Purdue Frederick          §
               Company; Cephalon, Inc.; Teva              §
               Pharmaceutical Industries, Ltd; Teva       §
               Pharmaceuticals USA, Inc.; Janssen         §
               Pharmaceuticals, Inc.; Johnson &           §
               Johnson; Ortho-McNeil-Janssen              §
               Pharmaceuticals, Inc. n/k/a Janssen        §
               Pharmaceuticals, Inc.; Janssen             §
               Pharmaceutica, Inc. n/k/a Janssen          §
               Pharmaceuticals, Inc.; Endo Health         §     Rockwall County - 439th District Court
               Solutions, Inc.; Endo                      §          ___________ Judicial District
               Pharmaceuticals, Inc.; Abbott              §
               Laboratories; Knoll Pharmaceutical         §
               Company; Allergan PLC f/k/a                §
               Actavis PLC; Allergan Finance LLC          §
               f/k/a Actavis, Inc. f/k/a Watson           §
               Pharmaceuticals, Inc.; Allergan Sales      §
               LLC; Allergan USA Inc.; Insys              §
               Therapeutics, Inc.; Insys                  §
               Manufacturing LLC; McKesson                §
               Corporation; McKesson Medical-             §
               Surgical Inc.; Cardinal Health, Inc.;      §
               Cardinal Health 110 LLC; Cardinal          §
               Health 200 LLC; Cardinal Health            §
               414 LLC; Amerisource Bergen Drug           §
               Corporation; Mallinckrodt PLC;             §
               Mallinkrodt, LLC; SpecGx, LLC;             §
               Abbvie, Inc.; Knoll Pharmaceutical         §
               Company; CVS Health; Walgreens             §
               Boots Alliance, Inc., a/k/a Walgreen       §
               Co.; Wal-Mart Stores, Inc.; Dr.            §
               Richard Andrews; Dr. Theodore              §
               Okechuku; Dr. Nicolas Padron;              §
               DOES 1 through 100 inclusive               §
                                                          §                     of Rockwall County
                    Defendants.




             PLAINTIFF’S ORIGINAL PETITION                                      PAGE 1 OF 112


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                                          PLAINTIFF’S ORIGINAL PETITION

             TO THE HONORABLE JUDGE OF SAID COURT:

                    Comes Now the Plaintiff: The County of Rockwall Texas (“Rockwall County” or the

             “County”), by and through the undersigned attorneys and on behalf of the County Attorney for

             Rockwall County, and for cause of action would respectfully show the Court and jury as follows:

                                                DISCOVERY CONTROL PLAN

                    1.      Discovery is intended to be conducted under level 3 of Rule 190, TEXAS RULES OF

             CIVIL PROCEDURE.

                                                  CONDITIONS PRECEDENT

                    2.      Plaintiff alleges that all conditions precedent have been performed or have

             occurred.

                                   RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

                    3.      Per Rule 47 of the Texas Rules of Civil Procedure, the County states that although

             the full measure of its damages is still being calculated, its damages caused by Defendants’ acts

             and omissions exceed $1,000,000 but are believed to be less than $100,000,000. Accordingly, at

             this time in the litigation, Rockwall County states that it is seeking monetary relief for an amount

             greater than $1,000,000 and less than $100,000,000, the rightful and just amount to be determined

             by the jury.

                                                           PARTIES

                    4.      Plaintiff brings this action for and on behalf of Rockwall County, which provides a

             wide range of services on behalf of its residents, including, but not limited to, services for families

             and children, public health, public assistance, law enforcement, and social services, as well as



             PLAINTIFF’S ORIGINAL PETITION                                                  PAGE 2 OF 112


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             medical and prescription benefits that the County provides to its employees and retirees.

                                                CORPORATE DEFENDANTS

                    5.      Purdue Pharma L.P. is a limited partnership organized under the laws of Delaware

             with its principal place of business in Stamford, Connecticut. Purdue Pharma Inc. is a New York

             corporation with its principal place of business in Stamford, Connecticut The Purdue Frederick

             Company is a Delaware corporation with its principal place of business in Stamford, Connecticut.

             Purdue Pharmaceuticals L.P. is licensed by the Food & Drug Safety Licensing Group of the Texas

             Department of State Health Services ("DSHS'') as a manufacturer and/or distributor of prescription

             drugs in Texas (collectively "Purdue").

                    6.      Purdue manufactures, promotes, sells, and distributes opioids nationally and in

             Rockwall County, including among them OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans,

             Hysingla ER, and Targiniq ER. OxyContin is Purdue's best-selling opioid. Since 2009, Purdue's

             annual sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold

             from its 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for

             analgesic drugs (painkillers).

                    7.      Purdue is engaging in business in the State of Texas but has not designated or

             maintained a resident agent for service of process. Therefore, Purdue can be served in accordance

             with TEX. CIV. PRAC. & REM. CODE §17.042 and § 17.044 by serving the Secretary of the State of

             Texas, P.O. Box 12079, Austin, Texas 78711-2079.

                    8.      Cephalon, Inc. ("Cephalon.") is a Delaware corporation with its principal place of

             business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon. Teva Pharmaceutical

             Industries, Ltd ("Teva, Ltd.") is an Israeli company with its corporate headquarters in Petah Tikva,

             Israel. Teva Pharmaceuticals USA, Inc. ("Teva USA") is a wholly-owned subsidiary of Teva Ltd.



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             and is a Delaware corporation with its principal place of business in Pennsylvania. Teva USA

             acquired Cephalon in October 2011. Teva, Ltd., Teva USA, and Cephalon, Inc. (collectively

             "Cephalon") work together closely to market and sell Cephalon products in the State of Texas.

             Teva conducts all sales and marketing activities for Cephalon in the State of Texas through Teva

             USA and has done so since it's October 2011 acquisition of Cephalon.

                    9.      Cephalon manufactures, promotes, sells, and/or distributes opioids nationally and

             in Rockwall County, including Actiq and Fentor, for which Cephalon is identified as the drug

             sponsor and Teva USA is identified as the distributor.

                    10.     Cephalon is engaging in business in the State of Texas but has not designated or

             maintained a resident agent for service of process. Therefore, Cephalon can be served in

             accordance with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the Secretary of

             the State of Texas, P.O. Box 12079, Austin, Texas 78711-2079.

                    11.     Janssen Pharmaceuticals, Inc. ("Janssen") is a Pennsylvania corporation with its

             principal place of business in Titusville, New Jersey and is a wholly-owned subsidiary of Johnson

             & Johnson (J&J), a New Jersey corporation with its principal place of business in New Brunswick,

             New Jersey. Otho-McNeil-Janssen Pharmaceuticals, Inc., now known as Janssen Pharmaceuticals,

             Inc., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

             Janssen Pharmaceutica, Inc., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania

             corporation with its principal place of business in Titusville, New Jersey. J&J is the only company

             that owns more than 10% of Janssen Pharmaceuticals' stock and corresponds with the FDA

             regarding Janssen's products. Upon information and belief: J&J controls the sale and development

             of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit. (collectively

             "Janssen").



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                     12.   Janssen manufactures, promotes, sells, and/or distributes opioids nationally and in

             Rockwall County, including Duragesic, Nucynta and Nucynta ER. These opioid drugs are sold

             both directly by Janssen and by third party drug distributors. Janssen is engaging in business in

             the State of Texas but has not designated or maintained a resident agent for service of process.

             Therefore, Janssen can be served in accordance with TEX. CIV. PRAC. & REM. CODE §17.042 and

             § 17.044 by serving the Secretary of the State of Texas, P.O. Box 12079, Austin, Texas 78711-

             2079.

                     13.   Endo Health Solutions, Inc. is a Delaware corporation with its principal place of

             business in Malvern, Pennsylvania. Endo Pharmaceuticals, Inc. is a wholly-owned subsidiary of

             Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

             Malvern, Pennsylvania (collectively "Endo.'').

                     14.   Endo manufactures, promotes, sells, and/or distributes opioids nationally and in

             Rockwall County, including Opana and Opana ER. Opana ER is reported to have been prescribed

             up to 50,000 times per day. However, June 8, 2017, the U.S. Food and Drug Administration

             requested that Endo remove Opana ER from the market based on FDA's concern that the benefits

             of the drug may no longer outweigh its risks. Endo is engaging in business in the State of Texas

             but has not designated or maintained a resident agent for service of process. Therefore, Endo can

             be served in accordance with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the

             Secretary of the State of Texas, P.O. Box 12079, Austin, Texas 78711-2079.

                     15.   Abbott Laboratories is an Illinois corporation with its principal place of business in

             Abbott Park, Illinois. Knoll Pharmaceutical Company is a wholly-owned subsidiary of Abbott

             Laboratories and is a New Jersey corporation with its principal place of business in Parsippany,

             New Jersey (collectively "Abbott").



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                     16.      Abbott currently and/or historically manufactures, promotes, sells, and/or

             distributes opioids nationally and in Rockwall County, including Vicoprofen and Dilaudid. Abbott

             Laboratories can be served by serving its registered agent as follows: CT Corporation System,

             1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

                     17.      Allergan PLC is a public limited company incorporated in Ireland with its principal

             place of business in Dublin Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

             combined company changed its name to Allergan PLC in January 2013. Before that, Watson

             Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012, and the combined company changed

             its name to Allergan Finance, LLC as of October 2013. Watson Laboratories, Inc. is a Nevada

             corporation with its principal place of business in Corona, California, and is a wholly-owned

             subsidiary of Allergan PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). Actavis

             Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business in

             New Jersey and was formerly known as Watson Pharma, Inc. Actavis LLC is a Delaware limited

             liability company with its principal place of business in Parsippany, New Jersey. Each of these

             Defendants is owned by Allergan PLC, which uses them to market and sell its drugs in Texas.

             Upon information and belief, Allergan PLC exercised control over these marketing and sales

             efforts and profits from the sale of Allergan/Actavis products ultimately inure to its benefit

             (collectively ''Actavis.'').

                     18.      Actavis manufactures, promotes, sells, and/or distributes opioids nationally and in

             Rockwall County, including generic Oxycontin (oxycodone hydrochloride) and Dilaudid

             (hydromorphone hydrochloride).        Allergan Sales is identified as the sponsor and/or entity

             responsible for the manufacture and/or distribution of the opioid medication Fiorinal with codeine

             (FDA NDA # 019429). Actavis acquired the rights to another opioid, Kadian (morphine sulfate,



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             NDA # 020616), from King Pharmaceuticals, Inc. on December 30, 2008, and began marketing

             Kadian in 2009.

                      19.   Actavis is engaging in business in the State of Texas but has not designated or

             maintained a resident agent for service of process. Therefore, Actavis can be served in accordance

             with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the Secretary of the State of

             Texas, P.O. Box 12079, Austin, Texas 78711-2079.

                      20.   Actavis has elected to do business in Texas under a license as a domestic drug

             manufacturer and/or distributor. The entities that are licensed by DSHS to conduct business in

             Texas as domestic licensees are: Allergan Sales LLC 8301 Mars Dr. Waco, Texas 76712 Allergan

             USA Inc., 800 Waters Ridge Dr. 100, Lewisville, Texas 75057.

                      21.   Plaintiff alleges that Allergan Sales LLC and Allergan USA Inc. are domiciled in

             the State of Texas and are proper parties who may be sued under their assumed or common names

             for enforcing for or against it a substantive right TEX. R. CIV. P. 28. Allergan Sales LLC and

             Allergan USA Inc. may be served at the above addresses.

                      22.   Insys Therapeutics, Inc. ("Insys") is a Delaware corporation with its principal place

             of business in Chandler, Arizona. Insys manufactures, promotes, sells, and/or distributes opioids

             nationally and in Rockwall County, including Subsys (fentanyl sublingual spray).

                      23.   Insys can be served by serving its registered agent as follows: CT Corporation

             System, 1999 Bryan Street, Suite900, Dallas, Texas 75201-3136.

                      24.   Insys has elected to do business in Texas under a license as a domestic drug

             manufacturer and/or distributor. The entity that is licensed by DSHS to conduct business in Texas

             as a domestic licensee is: Insys Manufacturing LLC 2700 Oakmont Drive Round Rock, Texas

             78665.



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                    25.     Plaintiff alleges that Insys Manufacturing LLC is domiciled in the State of Texas

             and is a proper party who may be sued under its assumed or common name for enforcing for or

             against it a substantive right. TEX. R. CIV. P. 28. Insys Manufacturing may be served at the above

             address.

                    26.     McKesson Corporation ("McKesson") is a Delaware corporation with its principal

             place of business in San Francisco, California. McKesson distributes pharmaceuticals to retail

             pharmacies and institutional providers across the United States, including Texas and Rockwall

             County.    The drugs distributed by McKesson include powerful, addictive opioids, such as

             oxycodone and hydrocodone.

                    27.     McKesson is engaging in business in the State of Texas but has not designated or

             maintained a resident agent for service of process. Therefore, McKesson can be served in

             accordance with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the Secretary of

             the State of Texas, P.O. Box 12079, Austin, Texas 78711-2079.

                    28.     McKesson has elected to do business in Texas under a license as a domestic drug

             manufacturer and/or distributor. There are three "McKesson" entities that are licensed by DSHS

             to conduct business in Texas as domestic licensees.

                    29.     Plaintiff alleges that McKesson Corporation and McKesson Medical-Surgical Inc.

             are domiciled in the State of Texas and. are proper parties who may be sued under their assumed

             common name for enforcing for or against it a substantive right TEX. R. CIV. P. 28. McKesson

             Corporation and McKesson Medical-Surgical Inc. may be served at the above addresses.

                    30.     Cardinal Health, Inc. (''Cardinal") is an Ohio Corporation with its principal place

             of business in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail pharmacies and

             institutional providers across the United States, including Texas and Rockwall County. The drugs



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             distributed by Cardinal include powerful, addictive opioids, such as oxycodone and hydrocodone.

                    31.     Cardinal is engaging in business in the State of Texas but has not designated or

             maintained a resident agent for service of process. Therefore, Cardinal can be served in accordance

             with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the Secretary of the State of

             Texas, P.O. Box 12079, Austin, Texas 78711-2079.

                    32.     Cardinal has elected to do business in Texas under a license as a domestic drug

             manufacturer and/or distributor. There are nine "Cardinal" entities that are licensed by DSHS to

             conduct business in Texas as domestic licensees.

                    33.     Plaintiff alleges that Cardinal Health 110 LLC, Cardinal Health 200 LLC and

             Cardinal Health 414 LLC are domiciled in the State of Texas and are proper parties who may be

             sued under their assumed or common name for enforcing for or against it a substantive right Tex.

             R. Civ. P. Cardinal Health 110 LLC, Cardinal Health 200 LLC, and Cardinal Health 414 LLC

             may be served at the above addresses.

                    34.     Amerisource Bergen Drug Corporation (''Amerisource”) is a Delaware Corporation

             with its principal place of business in Chesterbrook, Pennsylvania. Amerisource distributes

             pharmaceuticals to retail pharmacies and institutional providers across the United States, including

             Texas and Rockwall County. The drugs distributed by Amerisource include powerful, addictive

             opioids, such as oxycodone and hydrocodone.

                    35.     Amerisource is engaging in business in the State of Texas but has not designated

             or maintained a resident agent for service of process. Therefore, Amerisource can be served in

             accordance with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the Secretary of

             the State of Texas, P.O. Box 12.079Austin, Texas 78711-2079.

                    36.     Amerisource has elected to do business in Texas under a license as a domestic drug



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             manufacturer and/or distributor. There are two Amerisource entities that are licensed by DSHS to

             conduct business in Texas as domestic licensees, including: Amerisource Bergen Drug

             Corporation 12727 W. Airport Blvd. Sugarland, Texas 77478.

                    37.    Plaintiff alleges that Amerisource Bergen Drug Corporation is domiciled in the

             State of Texas and is a proper party who may be sued under its assumed or common name for

             enforcing for or against it a substantive right. TEX. R. CIV. P. 28. Amerisource Bergen Drug

             Corporation may be served at the above address.

                    38.    Mallinckrodt PLC (“Mallinckrodt”) is an Irish public limited company with its

             corporate headquarters in Staines-Upon-Thames, Surrey, United Kingdom and maintains a U.S.

             headquarters in St. Louis, Missouri. Mallinckrodt, LLC is a limited liability company organized

             and existing under the laws of the State of Delaware with its principal place of business in St.

             Louis, Missouri. Since June 28, 2013, it has been a wholly owned subsidiary of Mallinckrodt,

             plc. Prior to June 28, 2013 Mallinckrodt, LLC, was a wholly-owned subsidiary of Covidien

             plc. Mallinckrodt Brand Pharmaceuticals is a Delaware Corporation which is wholly owned by

             Mallinckrodt plc. Defendant SpecGx, LLC, is a Delaware limited liability company with its

             headquarters in Clayton, Missouri and is a wholly-owned subsidiary of Mallinckrodt plc. SpecGX

             currently manufactures and sells certain opioids which were previously manufactured by

             Mallinckrodt, LLC. Mallinckrodt, plc, Mallinckrodt, LLC, Mallinckrodt Brand Pharmaceuticals,

             and SpecGx, LLC, are referred to as “Mallinckrodt.” Mallinckrodt distributes pharmaceuticals to

             retail pharmacies and institutional providers across the United States, including Texas and

             Rockwall County. The drugs distributed by Mallinckrodt include powerful, addictive opioids,

             such as oxycodone and hydrocodone.

                    39.    Abbvie, Inc. (“Abbvie”) is a Delaware corporation with its principal place of



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             business in North Chicago, Illinois, and may be served through its registered agent for service of

             process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201. Knoll

             Pharmaceutical Company (“Knoll”) has been a wholly-owned subsidiary of Abbvie from

             January 1, 2013. Knoll is a New Jersey corporation with its principal place of business in

             Parsippany, New Jersey, and may be served through its registered agent for service of process,

             CT Corporation System, 350 N St. Paul Street, Dallas, Texas 75201.

                    40.     Knoll irresponsibly marketed narcotics, such as Vicodin, through toys and

             souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin was

             not regulated as a Schedule II controlled substance for many years, and the fact physicians and

             consumers did not fully appreciate the highly addictive nature of Vicodin, Knoll advertised

             Vicodin with tag lines such as “The Highest Potency Pain Relief You Can Still Phone In.” This

             tag line came as part and parcel of souvenirs like a “Vicodin” fanny pack and water bottle, both

             bearing the name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a

             narcotic drug caused doctors and patients to believe Vicodin was safer than it really was, to the

             detriment of people in Rockwall County. Abbvie began manufacturing, developing, promoting,

             marketing, and selling the opioid drug, Vicodin, in the U.S. and its opioid business impacts

             Rockwall County. On information and belief, it continues to do so at the time of filing this

             pleading.

                    41.     CVS Health (“CVS”) is a Delaware corporation with its principal place of

             business in Rhode Island. CVS is engaging in business in the State of Texas but has not designated

             or maintained a resident agent for service of process. Therefore, CVS can be served in accordance

             with TEX. CIV. PRAC. & REM. CODE § 17.042 and § 17.044 by serving the Secretary of the State of

             Texas, P.O. Box 12079, Austin, Texas 78711-2079. During all relevant times, CVS Health has



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             sold and continues to sell prescription opioids in and in close proximity to Rockwall County.

                     42.      Walgreens Boots Alliance, Inc., a/k/a Walgreen Co. ("Walgreens”) is a Delaware

             corporation with its principal place of business in Illinois and may be served through its

             registered agent for service of process, The Prentice-Hall Corporation System, Inc., 211 E. 7th

             Street, Suite 620, Austin, Texas 78701. At all relevant times, Walgreens has sold and continues

             to sell prescription opioids in close proximity to Rockwall County.

                     43.      Wal-Mart Stores, Inc. ("Wal-Mart") is a Delaware corporation with its principal

             place of business in Arkansas and may be served through its registered agent for service of

             process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201. At all

             relevant times, Wal-Mart has sold and continues to sell prescription opioids at locations in

             and in close proximity to Rockwall County.

                     44.      The foregoing parties are referenced in this petition as the "corporate Defendants"

             or as the "Defendants."

                                                  INDIVIDUAL DEFENDANTS

                     45.      DR. RICHARD ANDREWS is an individual residing in Dallas, Dallas County,

             Texas. Dr. Andrews was involved in a “pill mill” operation and charged with conspiracy to

             distribute controlled substances, including oxycodone, to patients in Dallas County and numerous

             other counties, including Rockwall County. 1 Dr. Andrews agreed to the revocation of his medical

             license on March 3, 2017 after pleading guilty to two felony charges. 2 Rockwall County is not,

             however, seeking damages under claims of medical malpractice or medical professional




             1
               Department of Justice, “Doctor Who Owned McAllen Medical Clinic in Dallas Pleads Guilty in Pill Mill Case,”
             (January 13, 2017), https://www.justice/usao-ndtx/pr/doctor-who-owned-mcallen-medical-clinic-dallas-pleads-
             guilty-pill-mill-case.
             2
               Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.


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             negligence.

                      46.      DR. THEODORE OKECHUKU is an individual who resided in Dallas, Dallas

             County, Texas until his sentencing date in October 2015. Dr. Okechuku was involved in a “pill

             mill” operation and charged with, among other things, conspiracy to distribute controlled

             substances, including hydrocodone, to patients in Dallas County and other counties, including

             Rockwall County. 3 Dr. Okechuku lost his medical license as of December 17, 2015. 4 Rockwall

             County is not, however, seeking damages under claims of medical malpractice or medical

             professional negligence.

                      47.      DR. NICOLAS PADRON is an individual who resided in Garland, Dallas County,

             Texas until his sentencing date in March 2014; Dr. Padron was involved in a “pill mill” operation

             and charged with conspiracy to distribute controlled substances, including hydrocodone, to

             patients in Dallas County and other counties, including Rockwall County. 5 Dr. Padron agreed to

             the revocation of his medical license on October 1, 2012 in lieu of further disciplinary proceedings

             after pleading guilty to one charge of conspiracy to commit healthcare fraud. 6 Rockwall County is

             not, however, seeking damages under claims of medical malpractice or medical professional

             negligence.

                      48.      The County lacks information sufficient to specifically identify the true names or

             capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

             fictitious names DOES 1 through 100 inclusive. The County will amend this Petition to show their



             3
               “Trial for Dallas Doctor Accused of Running Pill Mill,” (October 6, 2015), http://www.zenlawfirm.com/Law-
             Blog/2015/October/Trial-for-Dallas-Doctor-Accused-of-Running-Pill-.aspx.
             4
               Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.
             5
               “Garland Doctor, other ‘Dealers’ Sentenced in Dallas ‘Pill Mill’ Case,” (October 29, 2014),
             http://starlocalmedia.com/rowlettlakeshoretimes/garland-doctor-other-d...llas-pill-mill-case/article_d53be5fc-5fbc-
             11e4-9186-af37156f06a3.html.
             6
               Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.


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             true names and capacities if and when they are ascertained. Rockwall County is informed and

             believes, and on such information and belief alleges, that each of the Defendants named as a DOE

             has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

             and, as such, shares liability for at least some part of the relief sought herein.

                    49.     Dr. Richard Andrews, Dr. Theodore Okechuku, and Dr. Nicholas Padron shall

             henceforth be collectively referred to as the “Individual Defendants.”

                                                             STANDING

                    50.     Rockwall County has standing to bring this lawsuit because it has suffered an

             injury-in-fact caused by Defendants’ misconduct, and that harm can be redressed through this

             action. The Commissioner’s Court of Rockwall County, in the exercise of its power and authority

             over County business, expressly and formally has authorized the filing of this petition and the

             pursuit of the legal remedies raised herein, and does so in the name of and for the benefit of

             Rockwall County. Having decided that it was necessary to pursue these claims to protect the

             County’s interests, the County Commissioner’s Court, on behalf of Rockwall County, hired

             outside counsel to handle the litigation. The contract governing the County’s representation in this

             litigation was approved by the Texas Comptroller of Public Accounts pursuant to Tex. Gov’t Code

             § 403.0305.

                    33.     Defendants’ misconduct has placed an unreasonable burden on Rockwall County’s

             resources and ability to provide the public services and employee benefits it is obligated to and/or

             has authority to provide to its residents and employees. Rockwall County has the statutory duty

             and/or authority to provide public safety and health services, including, but not limited to, the

             following:




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                              ·       Supporting paupers; 7

                              ·       Providing county jails; 8

                              ·       Providing health care in county jails; 9

                              ·       Providing fire protection; 10

                              ·       Enforcing drug laws; 11

                              ·       Contracting with drug centers; 12

                              ·       Commissioning drug education and counseling programs; 13 and

                              ·      Paying county and precinct officers and employee compensation, office
                              and travel expenses, and any other allowances. 14

                     34.      Defendants’ misconduct − including Manufacturing Defendants’ calculated

             marketing campaign of misinformation to physicians and patients, and Distributor Defendants’

             disbursement and distribution of prescription opioids even though suspicion for diversionary

             purposes existed − caused the damages to the County. They misled physicians into overprescribing

             opioids, which directly created the need for dramatically increased public services. The County

             relied on these misrepresentations in paying for its employees’ healthcare costs causing the County

             to incur increased healthcare costs for its own employees.

                     35.      The harm caused by Defendants’ misconduct can be redressed by the Court in this

             action. Defendants should be enjoined from continuing to manufacture, distribute, and sell opioids

             in Rockwall County without a medical purpose and without educating physicians and patients



             7
               Tex. Local Gov’t Code § 81.027.
             8
               Id. at § 351.001.
             9
               Id. at § 351.045.
             10
                Id. at § 352.001.
             11
                Id. at § 370.003.
             12
                Tex. Health & Safety Code at § 464.032.
             13
                Id. at § 465.001
             14
                Tex. Local Gov’t Code § 152.011.

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             about the actual risks and benefits of its drugs. Furthermore, Defendants should compensate

             Rockwall County for the funds it has expended and continues to expend for medical insurance

             claims for opioids that were not medically necessary, as well as increased costs of social services,

             health systems, law enforcement, the judicial system, and treatment facilities, and the increased

             costs and loss of revenue caused by the plague of crippling addiction.

                                             VENUE AND JURISDICTION

                    36.     Venue is proper in Rockwall County because all or a substantial part of the events

             or omissions giving rise to this claim occurred in Rockwall County. TEX. CIV. PRAC. & REM. CODE

             §15.002(a)(2). This Court has subject-matter jurisdiction over this matter because Plaintiff’s

             damages are in excess of the minimal jurisdictional limits of this Court. TEX. GOVT. CODE

             §24.007(b).

                    35.     This Court has general jurisdiction over the Individual Defendants as they are Texas

             residents. This Court also has specific jurisdiction over all Defendants as their activities were

             directed toward Texas, and injuries complained of herein resulted from their activities. Guardian

             Royal Exchange Assur., Ltd. v. English China Clays, P.L.C., 815 S.W.2d 223, 227 (Tex. 1991).

             Each Defendant has a substantial connection with Texas and the requisite minimum contacts with

             Texas necessary to constitutionally permit the Court to exercise jurisdiction. See id. at 226.

                    36.     There is no federal subject matter jurisdiction over this action. There is no federal

             subject matter jurisdiction pursuant to 28 U.S.C. Section 1332(a) because the Plaintiff is a citizen

             of the State of Texas and defendants are citizens of the State of Texas, thereby destroying complete

             diversity. There is no federal subject matter jurisdiction pursuant to 28 U.S.C. Section 1332(d)

             because the Plaintiff does not bring this case as a class action or as a mass action. The County

             expressly and permanently does not, and disavows, any proposal to try its claims with 99 other



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             persons.

                     37.     There is no federal subject matter jurisdiction pursuant to 28 U.S.C. Section 1331

             because no claim in this petition arises under the Constitution, laws, or treaties of the United States.

                     38.     Moreover, even assuming there is a federal question, which is denied, no such

             federal question is substantial to the federal system as a whole. See Gunn v. Minton, 568 U.S. 251

             (2013). To the extent any federal proceeding is allegedly discussed or referenced directly or

             indirectly in this petition, these pleadings do not state any federal claim or raise any federal

             question but rather are factual allegations showing Defendants’ mens rea and the course of

             Defendants’ malfeasance as a factual matter. No federal question is substantial, is raised, or is

             necessarily adjudicated here because the County exclusively is relying on state law rather than on

             any federal law, regulation or standard. The statements in this paragraph are controlling

             notwithstanding anything allegedly to the contrary in this petition.

                     39.     There is no removal jurisdiction under 28 U.S.C. Section 1442. The County makes

             no claim, and expressly disavows any alleged claim, against or directed to the United States or any

             agency thereof or any officer (or any person acting under that officer) of the United States or any

             agency thereof, in an official or individual capacity, for or relating to any act under color of such

             office; including without limitation, the County denies seeking, and expressly disavows, any

             recovery arising from McKesson Corporation’s federal contract to supply prescription medication.

             The statements in this paragraph are controlling notwithstanding anything allegedly to the contrary

             in this petition.

                                                 FACTUAL ALLEGATIONS

                     40.     Before the 1990s, generally accepted standards of medical practice dictated that

             opioids should be used only for short-term acute pain – pain relating to recovery from surgery or



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             for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

             prohibited because there was a lack of evidence that opioids improved patients’ ability to

             overcome pain and function. Instead, the evidence demonstrated that patients developed tolerance

             to opioids over time, which increased the risk of addiction and other side effects.

                     41.     After the 1990s, Defendants dramatically changed doctors’ views regarding opioids

             through a well-funded deceptive marketing scheme. Defendants were so successful that, according

             to the National Safety Council, 74% of all doctors prescribe opioids for chronic back pain and

             55% prescribe opioids for dental pain, “neither of which is appropriate in most cases.” 15 And 99%

             of doctors are prescribing them for longer than the three-day recommended period as

             recommended by the CDC. 16 Twenty-three percent prescribe at least a month’s worth of opioids

             and evidence shows that just 30 days of usage can cause brain damage. 17

                     42.     Each Defendant used direct marketing and unbranded advertising (i.e., advertising

             that promotes opioid use generally but does not name a specific opioid) disseminated by seemingly

             independent third parties to spread false and deceptive statements about the risks and benefits of

             long-term opioid use. Defendants advocated the widespread use of opioids for chronic pain even

             though it contravened the “cardinal principles of medical intervention – that there be compelling

             evidence of the benefit of a therapy prior to its large-scale use.”

             A.      Defendants Used Multiple Avenues to Disseminate their False and Deceptive
                     Statements about Opioids.

                     43.     Defendants spread their false and deceptive statements by (1) marketing their



             15
                 National Safety Council, NSC Poll: 99% of Doctors Prescribe Highly-Addictive Opioids Longer than CDC
             Recommends, 2017 (The NSC was founded in 1913 and chartered by Congress and is a non-profit organization whose
             mission is to save lives by preventing injuries and deaths at work, in homes, and in the communities through
             leadership, research, education, and advocacy).
             16
                Id.
             17
                Id.

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             branded opioids directly to doctors treating patients residing in Rockwall County and the Rockwall

             County patients themselves and (2) deploying so-called unbiased and independent third parties to

             Rockwall County.

                            1. Defendants Spread and Continue to Spread Their False and Deceptive
                               Statements Through Direct Marketing of Their Branded Opioids.

                    44.     Defendants’ direct marketing of opioids generally proceeded on two tracks. First,

             each Manufacturing Defendant conducted advertising campaigns touting the purported benefits of

             their branded drugs. For example, Purdue spent $200 million promoting and marketing OxyContin

             in various forms. Defendants spent more than $14 million on medical journal advertising of

             opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

             million by Janssen, and $1.1 million by Endo.

                    45.     A number of Defendants’ branded ads deceptively portrayed the benefits of opioids

             for chronic pain.    For example, Endo distributed and made available on its website,

             www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

             physically demanding jobs like a construction worker and chef, implying that the drug would

             provide long-term pain-relief and functional improvement.

                    46.     Purdue also ran a series of ads, called “pain vignettes,” for OxyContin in 2012 in

             medical journals. These ads featured chronic pain patients and recommended OxyContin for each.

             One ad described a “54-year-old writer with osteoarthritis of the hands” and implied that

             OxyContin would help the writer work more effectively. Second, each Defendant promoted the

             use of opioids for chronic pain through “detailers” – sales representatives who visited individual

             doctors and medical staff in their offices – and small-group speaker programs.

                    47.     Defendants devoted massive resources to direct sales contacts with doctors. In 2014

             alone, Defendants spent $154 million on detailing branded opioids to doctors, including $108


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             million by Purdue, $34 million by Janssen, and $10 million by Endo.

                    48.     Defendants sent their sales representatives to prescribers based on their specialties

             and prescribing habits obtained from sales data through IMS Health. Defendants used this data to

             monitor, and thereby target, specific physicians through the initial and renewal prescribing rates.

             To ensure that their sales representatives were properly incentivized, Defendants motivated them

             through bonuses. In 2001, Purdue paid $20 million in “sales incentive bonuses” to its sales

             representatives.

                    49.     Defendants also utilized “influence mapping” to use decile rankings or similar

             breakdowns to identify high-volume prescribers. The underlying strategy was that detailers would

             have the biggest sales impact on high-volume prescribers. For example, Endo identified

             prescribers representing 30% of its nationwide sales volume and planned sales visits three times

             per month to these physicians. These detailers visited physicians across the nation, including

             physicians in Rockwall County. Defendants also had access to data from IMS Health, which

             provides Defendants specific details about which medications physicians prescribe and how

             frequently they do so. This data was collected from more than 50% of the pharmacies in the United

             States, which would inform Defendants which doctors to target to convince them to prescribe more

             opioids or to start prescribing opioids instead of the medications they had been prescribing.

                    50.     Another manner in which Defendants expanded their sales was to target prescribers

             in individual zip codes and local boundaries. Defendants would send a detailer based on ease of

             in-person access and the likelihood of convincing the physician to prescribe a higher number of

             opioids and at higher doses.

                    51.     As part and parcel of their detailing of opioids to physicians, Purdue trained its sales

             representatives to inform physicians that the risk of addiction was “less than one percent” even



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             though studies demonstrated that there was a high incidence of drug abuse associated with

             prescription opioid use for chronic pain.

                     52.     As Defendants’ marketing efforts grew, they targeted nurse practitioners and

             physician assistants who, a 2012 Endo business plan noted, were “share acquisition” opportunities

             because they were more responsive than physicians to details and wrote most of their prescriptions

             without a physician consult.

                     53.     Studies demonstrate that visits from sales representatives influence the prescribing

             practices of residents and physicians by curtailing the prescription of generic drugs and rapidly

             expanding the prescription of new drugs, such as opioids for chronic pain. In a population-based

             county-level analysis of drug company marketing of prescription opioids – a study which included

             all U.S. counties – the marketing of opioid products to physicians was associated with both

             increased opioid prescribing and elevated mortality from overdoses. 18

                     54.     Defendants also paid doctors to serve on speakers’ bureaus, to attend programs, and

             for meals. In 2017, Dr. Hadland identified some of these payments from pharmaceutical

             companies to physicians prescribing opioids. It was the first time “industry payments to physicians

             related to opioid marketing” could be collated because of the “Open Payments program database”

             authorized under the “Physician Payments Sunshine Act.” Dr. Hadland explained that it was the

             first large-scale examination of these payments.

                     55.     One statistic Dr. Hadland gleaned from the data is that nearly 1 in 5 family

             physicians in 2013, out of 108,971 active family physicians, received an opioid-related payment.

             After culling through the Open Payments program database, Dr. Hadland concluded that



             18
                Hadland, S.E., Rivera-Aguirre, A., Marshall, B.D.L., Cerdá, M. (Jan. 2019). Association of Pharmaceutical
             Industry Marketing of Opioid Products with Mortality From Opioid-Related Overdoses.” The Journal of American
             Medical Association (JAMA) Network Open. DOI:10.1001/jamanetworkopen.2018.6007

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             “[f]inancial transfers” from pharmaceutical companies to physicians prescribing opioids “were

             substantial and widespread and may be increasing in number and value.” 19

                         56.     Some of the financial transfers most likely involved speaker programs, which

             provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

             promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

             an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

             the false impression that they were providing unbiased and medically accurate presentations when

             they were, in fact, presenting a script prepared by Defendants. On information and belief, these

             presentations conveyed misleading information, omitted material information, and failed to

             correct Defendants’ prior misrepresentations about the risks and benefits of opioids.

                         57.     Defendants employed the same marketing plans, strategies, and messages in and

             around Rockwall County, Texas as they did nationwide. Across the pharmaceutical industry, “core

             message” development is funded and overseen on a national basis by corporate headquarters. This

             comprehensive approach ensures that Defendants’ messages are accurately and consistently

             delivered across marketing channels and in each sales territory. Defendants consider this high level

             of coordination and uniformity crucial to successfully marketing their drugs.

                                 2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                                    to Spread False and Deceptive Statements about the Risks and Benefits of
                                    Opioids.

                         58.     Defendants also deceptively marketed opioids in and around Rockwall County

             through unbranded advertising. This advertising was ostensibly created and disseminated by

             independent third parties. But by funding, directing, reviewing, editing, and distributing this

             unbranded advertising, Defendants controlled the deceptive messages disseminated by these third


             19
                  Id. at 1495.

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             parties and acted in concert with them to falsely and misleadingly promote opioids for treating

             chronic pain. Unbranded advertising also avoided regulatory scrutiny because Defendants did not

             have to submit it to the FDA, and therefore it was not reviewed by the FDA. But it is illegal for a

             drug company to distribute materials that exclude contrary evidence or information about the

             drug’s safety or efficacy that clearly cannot be supported by the results of the study. Moreover, a

             drug company cannot compare or suggest that its drug is safer or more effective than another drug

             when it has not been demonstrated to be safer or more effective in such particular by substantial

             evidence of substantial clinical experience. It is therefore Defendants’ responsibility to ensure that

             not only is its label accurate and complete, but that any and all materials they distribute is accurate

             and complete.

                    59.      Defendants’ deceptive unbranded marketing often contradicted their branded

             materials. For example, Endo’s unbranded advertising contradicted its concurrent, branded

             advertising for Opana ER:

                                     Pain: Opioid Therapy               Opana ER Advertisement
                                         (Unbranded)                            (Branded)
                                                                    “All patients treated with opioids
                                 “People who take opioids as        require careful monitoring for
                                 prescribed usually do not          signs of abuse and addiction, since
                                 become addicted.”                  use of opioid analgesic products
                                                                    carries the risk of addiction even
                                                                    under appropriate medical use.”

                    60.      Drug companies that make, market, and distribute opioids are generally subject to

             rules requiring truthful marketing of prescription drugs. A drug company’s branded marketing,

             which identifies and promotes a specific drug, must: (a) be consistent with its label and supported

             by substantial scientific evidence; (b) not include false or misleading statements or material

             omissions; and (c) fairly balance the drug’s benefits and risks.



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                    61.      This framework ensures that drug companies, which are best suited to understand

             the properties and effect of their drugs, bear the responsibility of providing accurate information

             so that prescribers and users can assess the risks and benefits of the drugs.

                    62.      Defendants did not follow this framework in assisting, creating, and/or distributing

             third-party publications that included warnings and instructions either mandated by the FDA-

             required drug labels or that described the risks and benefits known to Defendants. The publications

             either failed to disclose the risk of addiction and misuse or affirmatively denied the risk of

             addiction. The publications also “appeared” to be independent third-party materials that had the

             effect of carrying more weight and credibility to convince physicians that opioids were safe for

             chronic pain.

                    a.       Defendants Utilized Treatment Guidelines to Promote their Deception.

                    63.      Defendants used treatment guidelines to normalize the use of opioids for chronic

             pain. Doctors, especially general practitioners and family doctors, rely upon treatment guidelines

             when faced with patients complaining of chronic pain. Scientific literature references treatment

             guidelines in making its conclusions and third-party payers use treatment guidelines to determine

             coverage. Even Endo’s internal documents indicate that sales representatives discussed treatment

             guidelines with doctors during individual sales visits.

                             1.     The FSMB Wrote or Sponsored Misleading and Deceptive Guidelines.

                    64.      Headquartered in Euless, Texas, the Federation of State Medical Boards (“FSMB”)

             is a trade organization representing the various state medical boards in the United States. The state

             boards that comprise the FSMB membership have the power to license doctors, investigate

             complaints, and discipline doctors. The FSMB finances opioid and pain-specific programs through

             grants from Defendants.



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                     65.      In 1998, the FSMB developed Model Guidelines for the Use of Controlled

             Substances for the Treatment of Pain (“FSMB Guidelines”), which was produced in collaboration

             with pharmaceutical companies. The FSMB guidelines instructed that opioids were “essential” for

             the treatment of chronic pain, even as a first prescription option.

                     66.      A book adapted from the 2007 FSMB guidelines, Responsible Opioid Prescribing:

             A Physician’s Guide (“Opioid Prescribing”), released March 1, 2009 makes these same claims. 20

             Opioid Prescribing was supported by a consortium of pharmaceutical companies and Front Groups

             with an interest in ensuring that “effective” pain management included the use of opioids.

                     67.      The author of Opioid Prescribing, Scott Fishman, M.D., chaired the board of the

             American Pain Foundation and served as president of the American Academy of Pain Medicine.

             Opioid Prescribing was sponsored by the Alliance of State Pain Initiatives, Federation of State

             Medical Boards, and the University of Wisconsin School of Medicine and Public Health.

                     68.      Dr. Fishman was a paid consultant to Cephalon and Eli Lilly. Dr. Fishman was also

             a paid consultant, on the Speakers’ Bureau, and part of the research support for Endo, Merck,

             Janssen, Pfizer and Purdue. 21

                     69.      Opioid Prescribing was designed for continued medical education (“CME”) in

             which a physician had to read the book, complete questions, and fulfill administrative steps to

             receive 7.5 hours of credit. The first page of Opioid Prescribing specifically states that opioids are

             the “drugs of choice” and “essential in the treatment of persons with chronic non-cancer pain” and

             that the CME will inform physicians about the laws and regulations governing the prescribing of

             opioids for pain control. 22 It also specifically teaches physicians how to protect their practices from


             20
                Scott M. Fishman, M.D., Responsible Opioid Prescribing, A Physician’s Guide, FSMB Foundation, Waterford Life
             Sciences, 2009.
             21
                Id.
             22
                Id.

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             unwarranted federal scrutiny. 23

                        70.    Opioid Prescribing marketed “[o]pioid analgesics” as the “drugs of choice for the

             management of moderate to severe pain… [which] may be essential in the treatment of persons

             with chronic non-cancer pain.” 24 The goal was to “change patient care, medical knowledge,

             practice-based learning, interpersonal and communication skills, and professionalism….” 25 The

             argument was that opioids were “underutilized” despite their “effectiveness.” 26 The truth, known

             to Dr. Fishman and Defendants herein, was that using opioids “for other than legitimate medical

             purposes pose[d] a threat to the individual and society,” posed high risks for overdose and

             addiction, and remained unproven as safe and effective for the long-term treatment of non-cancer

             pain. 27

                        71.    It was even conveyed to doctors that undertreating pain would be officially

             disciplined whereas doctors prescribing opioids for chronic pain would not be disciplined. Opioid

             Prescribing described a case in which a physician was sued for “elder abuse” and the jury awarded

             $1.5 million to the plaintiff as an example of a physician that had been “successfully sued for not

             treating pain aggressively.” 28 Opioid Prescribing cautioned that “these legal precedents sound a

             warning that there are risks associated with under-treating.” 29 In actuality, it was a threat that

             doctors would be punished if they failed to prescribe opioids to patients who complained about

             pain. That teaching has held true given that according to the National Safety Council, 67% of

             doctors prescribe opioids, in part, based on a patient’s expectations. 30 Moreover, approximately


             23
                Fishman, supra.
             24
                Id. at i.
             25
                Id.
             26
                Fishman, supra.
             27
                Id. at 6, 9.
             28
                Id. at 28.
             29
                Fishman, supra.
             30
                National Safety Council, supra.

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             74% of doctors incorrectly believe morphine and oxycodone are the most effective ways to treat

             pain even though research shows that over-the-counter medications such as ibuprofen and

             acetaminophen are the most effective pain relief for acute pain. 31

                      72.      Defendants also allayed any concerns doctors may have about patients exhibiting

             addictive behavior by highlighting the now debunked myth of “pseudoaddiction.” Dr. Fishman

             described pseudoaddiction as a sign that patients were receiving an inadequate dose to obtain pain

             relief, not as a sign that the patient was, in truth, exhibiting drug-seeking or addictive behavior. 32

                      73.      Opioid Prescribing misinformed physicians that the following signs were evidence

             of “pseudoaddiction” and not drug seeking behavior or signs of addiction so long as prescribing

             additional opioids resolves the pain:

                               ·        Requesting analgesics by name;

                               ·        Demanding or manipulative behavior,

                               ·        Clock watching;

                               ·        Taking opioid drugs for an extended period;

                               ·        Obtaining opioid drugs from more than one physician; and

                               ·        Hoarding opioids. 33

                      89.      Indeed, the types of behaviors that Dr. Fishman posed as “MORE indicative of

             addiction” included:

                               ·        Stealing money to obtain drugs;

                               ·        Performing sex for drugs;

                               ·        Stealing drugs from others;



             31
                Fishman, supra.
             32
                Fishman, supra at 62.
             33
                Id.

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                              ·       Prostituting others for money to obtain drugs;

                              ·       Prescription forgery; and

                              ·       Selling prescription drugs. 34

                     90.      Certainly, by the time a patient is performing sex for drugs, the patient has long

             been addicted and exhibited addictive behavior that was ignored by physicians at the explicit

             direction of Defendants. This conclusion is supported by the American Psychiatric Association.

                     91.      In the DSM-IV, addiction is “manifested” by three (or more) of the following in a

             12-month period, including:

                              a)             Tolerance described as:

                                       A need for markedly increased amounts of the substance to achieve
                                       intoxication or the desired effect

                                       or

                                       Markedly diminished effect with continued use of the same amount of the
                                       substance;

                              b)              Withdrawal manifested by:

                                       The characteristic withdrawal syndrome for the substance

                                       or

                                       The same (or closely related) substance is taken to relieve or avoid
                                       withdrawal symptoms;

                              c)             The substance is taken in larger amounts or over a longer period than
                                       intended; and

                              d)            Spending a great deal of time to obtain the substance, such as visiting
                                       multiple doctors or driving long distances. 35




             34
               Id. at 63.
             35
               American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders, Fourth Ed., Washington,
             D.C., American Psychiatric Assoc., 2000.

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                      92.      According to Defendants, as seen in Opioid Prescribing and other publications,

             signs of addiction as defined by the American Psychiatric Association allegedly are not signs of

             addiction, but of pseudoaddiction that justifies taking more opioids for a longer period of time.

                      93.      The reason not to discontinue the use of opioids – indeed, the foundation upon

             which Defendants built their opioid empire – was “the undertreatment of pain.” 36 Opioid

             Prescribing claimed the undertreatment of pain has “been recognized as a public health crisis for

             decades. The cost of human suffering is immeasurable. Turning away patients in pain simply is

             not an option.” 37 However, according to Dr. Donald Treater, medical advisor at The National

             Safety Council: “Opioids do not kill pain; they kill people.” 38

                      94.      Opioid Prescribing acknowledged that by 2005, more than 10 million Americans

             were abusing prescription drugs, which is more than the combined number of people abusing

             cocaine, heroin, hallucinogens, and inhalants combined. It also acknowledged that prescription

             opioids are associated with more overdose deaths than cocaine and heroin combined. 39 Yet the

             book then cautioned that the “undertreatment” of non-cancer pain was a public health crisis of

             equal importance that justified more opioid prescribing.

                      95.      Under the guise of addressing “legitimate cause of undertreated pain” that “patients

             and advocates have been pushing to address,” 40 Manufacturing Defendants tailored opioid

             marketing campaigns to affect children and the elderly. The Defendants made significant efforts

             to promote more opioid prescribing for “untreated or undertreated pain in children, older patients,



             36
                Fishman, supra, at 105.
             37
                Id.; see also id. at 80 (stating that efforts have been made to reduce the undertreatment or non-treatment of pain in
             children, the elderly, and in other vulnerable patient populations).
             38
                National Safety Council, supra.
             39
                Id.; Prescribing Opioids even recognized that “[b]ehind these figures lie millions of individual stories of personal
             tragedy: untimely death, fractures families, shattered dreams and wasted lives.” Id. at 7.
             40
                Id. at 8.

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             and in all other vulnerable patient populations.” 41

                     96.      Defendants also taught physicians that “[p]ain is what the patient says it is” and that

             a physician “cannot measure or even confirm the pain that a patient is experiencing.” 42 As such,

             “pain remains an untestable hypothesis.” 43 Furthermore, “[p]atients should not be denied opioid

             medications except in light of clear evidence that such medications are harmful to the patient.” 44

             All in all, opioids would cure the “pain epidemic” facing Americans. And yet, chronic pain

             continues to be a problem facing Americans, as well as an opioid epidemic of addiction and death.

                     97.      A total of 200,000 copies of Opioid Prescribing, which Dr. Fisherman wrote for

             the FSMB, has been delivered to U.S. prescribers through 20 state medical boards in all 50 states,

             including Texas. The FSMB earned approximately $250,000 from the sale. The FSMB website

             describes the book as the “leading continuing medication education (CME) activity for prescribers

             of opioid medications.”

                     98.      The guidelines for Opioid Prescribing were posted online for use and reliance by

             physicians throughout America, including but not limited to, those servicing patients in Rockwall

             County. State medical boards even encouraged physicians to buy the book and participate in the

             CME. The North Carolina Medical Board stated on its website that Opioid Prescribing “has been

             widely used and supported in the medical and regulatory communities as the leading continuing

             medical education (CME) activity for prescribers of opioid medications.” 45 The website then

             informs physicians that a CME accompanies the book and directs them to the book and how to


             41
                Fishman, supra, at 8.
             42
                See id. at 14.
             43
                Id. at 13.
             44
                Id. at 9.
             45
                 North Carolina Medical Board, FSMB Foundation Publishes Second Edition of Prescribing Book, Forum
             Newsletter, July 31, 2012; see also University of Wisconsin School of Medicine and Public Health, Federation of
             State Medical Boards, Responsible Opioid Prescribing – Book Helps Physicians Reduce Risk of Opioid Diversion and
             Abuse, April 1, 2009 (describing the book and CME activity).

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             claim the CME. The FSMB also hosted free CMEs in Texas, including Houston, Dallas, and

             Austin, related to extended-release and long-acting opioids. 46 The CME taught physicians the “safe

             and responsible prescribing of opioid medications and [was] aimed at improving prescriber

             training and counseling for patients while providing more thorough information on extended-

             release or long-acting (ER/LA) opioid products on the market.” 47

                     99.      The impact of Opioid Prescribing was even studied through a survey sent to 12,666

             licensed Georgia physicians six weeks after receiving the book. 48 The lead author was a member

             of FSMB. 49 A total of 508 physicians completed the online survey and of those, 82.1% rated the

             book either “very good” or “good” for improving care for their patients in pain. 50 Almost one-third

             (32.2%) claimed that they intended to make changes to their practice after reading the book. 51 Of

             note, 42.8% of solo practitioners and 41.6% of primary care providers were more likely to make

             changes to their practice than doctors in other areas. 52 Of the respondents, 57.7% said that the book

             was better than others with regard to prescribing opioids and on pain management. 53

                     100.     Opioid Prescribing was therefore an effective tool that impacted specific doctors

             and their prescribing practices, as concluded by the study. Specifically, the study provided “insight

             into which physician population would be the most receptive to the type of information presented

             in Dr. Fishman’s book” and that population was to “first target [] solo and primary care

             physicians.” 54 Defendants found out that their educational efforts “significantly altered


             46
                 Texas Medical Board, Extended-Release and Long-Acting Opioid Analgesics Risk Evaluation and Mitigation
             Strategy, www.tmb.state.tx.us.
             47
                Id.
             48
                A. Young, Physician Survey Examining the Impact of an Educational Tool for Responsible Opioid Prescribing, J.
             Opioid Management, Mar-Apr. 2012.
             49
                Id.
             50
                Id.
             51
                Id.
             52
                Id.
             53
                Id.
             54
                Id.

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             prescription practices.” 55

                             2.      The Joint Commission Also Spread Deceptive Information.

                     101.    The Joint Commission on Accreditation of Healthcare Organizations (“JCAHO”)

             is a United States-based non-profit, tax-exempt organization that “accredits and certifies nearly

             21,000 health care organizations and programs in the United States.” 56 A majority of state

             governments recognize accreditation from the Joint Commission as a condition of licensure and

             for receiving Medicaid and Medicare reimbursements. 57

                     102.    According to the JCAHO, it “continuously improve[s] health care for the public”

             and inspires health care organizations “to excel in providing safe and effective care of the highest

             quality and value.” 58 The JCAHO is not independent, but has been influenced by Manufacturing

             Defendants and those Defendants used the JCAHO as a marketing shill to spread the misleading

             message that opioids are non-addictive and safe as a first-line analgesic to treat any complaint of

             pain.

                     103.    In 2000, the JCAHO published Pain Assessment and Management: An

             Organizational Approach (“Pain Assessment”), which was paid for by Purdue and reviewed by

             June L. Dahl, Ph.D., who had worked for Endo and Purdue. 59

                     104.    The JCAHO mission statement on the inside cover page of the book explains that

             it aspires “to continuously improve the safety and quality of care provided to the public through

             the provision of health care accreditation and related services that support the performance




             55
                Young, supra.
             56
                www.jointcommission.org.
             57
                Anthony Anonimo, Poppy Seed. Revealing the Roots of the Opioid Epidemic, Trinity Mother Frances Health
             System, 2017, at 65.
             58
                Id.
             59
                Joint Commission on Accreditation of Healthcare Organizations, Pain Assessment and Management, 2000.

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             improvement in health care organizations.” 60 One of its big achievements, however, is its

             endorsements of new pain management standards that underscored Defendants’ fraudulent

             message.

                     105.   JCAHO, with the help of the American Pain Society (“APS”), a Front Group,

             loosened pain management standards thereby allowing doctors to prescribe opioids for any

             complaint of pain. To that end, “[t]he Joint Commission recognize[d] pain as a major, yet largely

             avoidable, problem…. [and] has expanded the scope of its pain management standards, which have

             been endorsed by the American Pain Society (APS), to cover all pain scenarios in accredited

             health care organizations rather than limiting the scope to end-of-life care.” 61 On January 1,

             2001, Texas incorporated JCAHO pain management standards for hospital and healthcare group

             accreditation. 62 The Texas Medical Association advertises that Pain Assessment “provides

             practical help in integrating pain assessment and management into organizational systems….” 63

                     106.   Pain Assessment established the cornerstone of Defendants’ message that “all pain

             scenarios” should be included in pain management practices. 64 It explained that “[p]ain is the most

             common reason individuals seek medical attention. According to the American Pain Society

             (APS), 50 million Americans are partially or totally disabled by pain.” 65 “The conclusion? Pain is

             undertreated – despite the availability of effective pharmacologic and nonpharmacologic therapies.

             Why?” 66

                     107.   The answer is on the first page of Pain Assessment. Allegedly, there is a chronic


             60
                Pain Assessment and Management, supra.
             61
                Id. (emphasis added).
             62
                Texas Medical Association, JCAHO Pain Management Services, available at
             https://www.texmed.org/Template.aspx?id=2389&terms=The%20war%20on%20pain.
             63
                Pain Assessment, supra.
             64
                Pain Assessment, supra, at p. 1.
             65
                Id.
             66
                Id.

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             pain epidemic and, allegedly, chronic pain is undertreated. Chronic pain allegedly can be managed

             and even cured with opioids, which are safe and effective, according to Pain Assessment. And the

             JCAHO encouraged organizations to establish standards for recording and responding to patient

             pain reports and monitoring staff performance and compliance with those standards, so that a

             physician who did not agree with the JCAHO standards faced the specter of poor performance

             evaluations. 67

                     108.      According to Pain Assessment, the reasons healthcare professionals had not used

             opioids previously included: (1) inadequate knowledge of opioids pharmacology and pain therapy,

             (2) poor pain assessment practices, (3) unfounded concerns about regulatory oversight, and (4)

             fear of opioids’ side effects of opioids such as tolerance and addiction. 68

                     109.      Pain Assessment asserted that few practitioners received adequate training in pain

             management in medical school or during their residency resulting in the failure to prescribe opioids

             or nonsteroidal anti-inflammatory drugs (NSAIDS) on a regular basis leaving patients without pain

             relief. 69 “[Many] health care professionals lack the knowledge and skills to manage pain

             effectively, and they fear the effects of treatment.” 70 Too few health care systems make pain

             management a priority, according to the misinformation campaign. 71 Some clinicians allegedly had

             “inaccurate and exaggerated concerns about addiction, tolerance, respiratory depression, and other

             opioid side effects, which lead them to be extremely cautious about the use of drugs.” 72 Instead of

             expanding upon and explaining the risks of opioids, Pain Assessment falsely states: “This attitude

             prevails despite the fact there is no evidence that addiction is a signification issue when persons


             67
                Pain Assessment, supra at 41-42.
             68
                Id.
             69
                Id.
             70
                Id. at 3.
             71
                Id. at 1.
             72
                Pain Assessment, supra, at 4.

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             are given opioids for pain control.” 73 That claim of insignificant addiction risk was false when

             made and remains false today. Yet it worked as intended to mislead treating doctors, medical staff,

             and patients into believing opioids could and should be utilized more often. Indeed, 74% of doctors

             “incorrectly believe morphine and oxycodone” are the “most effective ways to treat pain” even

             though research shows that over-the-counter pain relievers are the most effective for acute pain. 74

             Even worse, 20% of doctors prescribing opioids prescribed at least a month’s worth, even though

             the evidence shows that “30-day use causes brain changes.” 75

                      110.     Patients also contributed to the pain epidemic by their reluctance to report their pain

             and to take medications, 76 according to Pain Assessment. Doctors were instructed to engage

             patients in conversations about their pain before prescribing opioids by: (1) asking for pain relief

             when the pain begins; (2) helping the doctor or nurse assess the pain; and (3) telling the doctor or

             nurse if the pain is not relieved. 77 Doctors were taught that “[t]he single most reliable indicator of

             the existence and intensity of pain is the individual’s self-report.” 78 Indeed, the individual’s self-

             report was to be the primary source of information for the doctor and deemed more reliable than

             the observations of others. 79

                      111.     The bombardment of information, instruction, books, pamphlets, seminars, ads, and

             marketing regarding this “pain epidemic” was so successful that pain has been included as the

             “fifth vital sign” to be recorded along with the individual’s temperature, pulse, respiration, and

             blood pressure. 80 This strategy was first pitched by the APS to ensure that pain management gained


             73
                Id.(emphasis added).
             74
                National Safety Council, supra.
             75
                Id.
             76
                Pain Assessment, supra, at 4.
             77
                Id. at 8.
             78
                Id. at 13.
             79
                Id.
             80
                Pain Assessment, supra, at 20.

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             acceptance in the medical community, which it did. 81

                      112.     Beginning in 1999, the Veteran’s Health Administration began routinely assessing

             pain as the fifth vital sign in every individual. 82 And according to Pain Assessment, the research

             showed that “when pain assessment information is included in clinical charts, those individuals’

             analgesics [meaning opioids] are more likely to be increased.” 83 In other words, including pain as

             a fifth element results in not only the prescribing of more opioids, it results in the prescribing of

             higher doses of opioids.

                      113.     Pain Assessment also framed the role of key opinion leaders (“KOLs”) as

             purportedly trustworthy people “to evaluate new clinical information, assess new practices, and

             then determine their value within the context of the local setting.” 84 Doctors were expected to

             accept KOLs’ opinions even though KOLs are not “necessarily innovators or authority figures.” 85

             KOLs convinced practitioners that their current chronic pain treatment was “outdated,

             inappropriate, unsupported by research evidence, or no longer accepted by colleagues.” 86

                      114.     In addition, “expert” leaders influenced and implemented protocols with

             individuals or small groups. 87 These “academic strategies” included “conducting interviews to

             determine baseline knowledge, stimulating active participation during educational sessions, using

             concise graphic educational materials, and highlighting or replicating essential messages.” 88

             Academic detailing was modeled after pharmaceutical detailing practices in which representatives

             visited physicians to talk about specific medicines, just as Defendants’ representatives met with


             81
                See id. 20-21.
             82
                Id. at 21.
             83
                Pain Assessment, supra.
             84
                Id. at p. 24.
             85
                Id.
             86
                Id. at 25.
             87
                Id.
             88
                Pain Assessment, supra, at 25.

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             physicians to talk about opioids. 89 Simply put, Pain Assessment was a part of a marketing campaign

             to plow ground for Manufacturing Defendants to sell more opioids, and the book set forth

             sophisticated, multi-layered marketing strategies that were most effective in executing the

             campaign.

                      115.     If a doctor was not available to prescribe opioids, a nurse would suffice. A nurse

             specializing in oncology, surgery, critical care, or a nurse anesthetist, as well as a clinical

             pharmacist, can “serv[e] as role models, provid[e] pain management education and consultation,

             and act[s] as agents of change.” 90 These educational efforts “significantly altered prescription

             practices.” 91

                      116.     To succeed in prescribing opioids for chronic pain, Defendants had to create a

             market for chronic pain. To do so, Defendants literally encouraged patients not to tolerate pain and

             to fear pain more than opioid addiction. 92 Physicians and their staff were encouraged to educate

             their patients about “effective pain management,” which included the use of opioids. 93 Pain

             Assessment explained research that showed Americans would rather bear pain because they were

             afraid of “addiction, dependence on drugs, and tolerance to medications,” which affected not only

             the patient’s willingness to report pain, but to use adequate amount of opioids to control the pain. 94

             A patient’s reluctance to take opioids out of fear they would not function normally allegedly meant

             that the problem was “underreported” and the pain went “untreated.” 95

                      117.     Consequently, the answer was to inform and educate the patient that unrelieved



             89
                Id.
             90
                Pain Assessment, supra.
             91
                Id.
             92
                Id. at 33.
             93
                Id.
             94
                Id.
             95
                Pain Assessment, supra, at 33.

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             pain is harmful and that he or she should communicate pain. 96 Pain Assessment instructed the use

             of pain assessment instruments, including pain intensity scales, to describe the nature of the pain

             and stressed that the “most reliable indicator of pain” was the individual’s self-report. 97 Once the

             patient reported the pain, the physicians and staff were taught to tell the patient about opioids,

             explain that opioids were safe and effective, describe the name, dosage, and duration of the opioid

             therapy, and explain the risk of pain versus the importance of pain management. 98

                     118.     To ensure that patients self-reported pain prior to hospital visits, Pain Assessment

             encouraged health care systems to provide individuals and families with pain management

             information prior to being admitted. 99 And health care systems were told to leave individuals and

             family members with audio and videotapes to watch and listen to about the “importance” of “pain

             relief” so that they truly understood the message – that is, if you have “pain,” tell us and we will

             provide opioids.

                     119.     The JCAHO was not independent and did not improve the safety or quality of

             healthcare. Instead it was hijacked by Defendants to standardize pain management criteria that

             required the use of opioids for chronic pain. The JCAHO was merely a pawn in the Manufacturing

             Defendants’ larger game.

                     120.     Like other books and pamphlets used by Defendants to spread their “message,”

             Pain Assessment was distributed throughout the nation and in Texas.

                     b.       Key Opinion Leaders (KOLs) were another Means of Disseminating False
                              Information.

                     121.     Defendants also sponsored KOLs, a small circle of doctors who, upon information



             96
                Id. at 35.
             97
                Id.
             98
                Pain Assessment, supra.
             99
                Id. at 36.

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             and belief, were selected, funded, and elevated by Defendants because they publicly supported

             dispensing opioids more widely and indiscriminately.

                    122.    Defendants paid KOLs to serve as consultants or to appear on their advisory boards

             and to give talks or present CMEs, and Defendants’ support helped these KOLs become respected

             industry putative experts. As they rose to prominence, these KOLs promoted the benefits of

             opioids to treat chronic non-cancer pain, repaying Defendants by advancing their marketing goals.

                    123.    KOLs wrote articles and books, gave speeches, and taught CMEs to promote the

             utilization of opioids to treat moderate non-cancer pain. Defendants created opportunities for

             KOLs to participate in “studies” and write papers for the purpose of advancing the Manufacturing

             Defendants’ marketing theme: opioids should be dispensed regularly and perpetually to treat a

             broad array of pain complaints.

                    124.    Defendants’ KOLs also served on committees that developed treatment guidelines

             that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

             advocacy groups and professional societies that develop, select, and present CMEs. Defendants

             were able to direct and exert control over each of these activities through their KOLs.

                    125.    Pro-opioid doctors are one of the most important avenues that Defendants use to

             spread their false and deceptive statements about the risks and benefits of long-term opioid use.

             Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

             provide the false appearance of unbiased and reliable support for using opioids for chronic pain.

                    126.    Different Defendants utilized many of the same KOLs. Two of the most prominent

             are described below.

                            1. Russell Portenoy

                    127.    Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and



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             Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

             Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

             research support, consulting fees, and honoraria from Endo, Janssen, and Purdue (among others),

             and was a paid consultant to Purdue.

                        128.    Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

             treat chronic pain. He served on the American Pain Society (“APS”)/American Academy of Pain

             Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic

             pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

             Foundation (“APF”), an advocacy organization almost entirely funded by Defendants.

                        129.    Dr. Portenoy also made frequent media appearances promoting opioids. He

             appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

             pain. On this widely watched program, broadcast in Texas and across the country, Dr. Portenoy

             claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

             history, a personal history, of substance abuse, and does not have a history in the family of

             substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

             assured that that person is not going to become addicted.” 100

                        130.    Dr. Portenoy put doctors’ fear that opioids were dangerous and addictive, and

             meant only for cancer patients, to rest by arguing that they could be taken safely for months, even

             years, by patients with chronic pain. Dr. Portenoy, as well as other doctors making the speaker

             rounds, asserted that “[l]ess than 1% of opioid users became addicted, the drugs were easy to

             discontinue and overdoses were extremely rare in pain patients.” This is wildly incorrect.

                        131.    Perhaps realizing that “[m]ore than 16,000 people die from opioid overdoses every


             100
                   Good Morning America television broadcast, ABC News, Aug. 30, 2010.

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             year,” Dr. Portenoy is now having “second thoughts” about the “wider prescription” of drugs like

             Vicodin, OxyContin, and Percocet. Dr. Portenoy later admitted in a 2010 videotaped interview

             that he “gave innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.”

             According to Dr. Portenoy, because the primary goal was to “destigmatize” opioids, he and other

             doctors promoting them overstated their benefits and glossed over their risks.

                      132.    Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids does not

             exist.” Dr. Portenoy candidly stated: “Did I teach about pain management, specifically about

             opioid therapy, in a way that reflects misinformation? Well…I guess I did.”

                      133.    Before his moment of clarity, Dr. Portenoy co-authored a guide to publicize the

             benefits of opioids for chronic pain, which was paid for by an unrestricted education grant from

             Endo, titled A Clinical Guide to Opioid Analgesia (“Opioid Analgesia”). 101 Opioid Analgesia

             reiterated that opioids are “absolutely necessary” for pain relief. 102

                      134.    Although Opioid Analgesia claimed “to help clinicians make practical sense of the

             varied and often conflicting pharmacologic, clinical and regulatory issues to promote the most

             healthful outcomes possible for patients in pain,” 103 the reality was that it expressed regret that

             federal and state governments had passed controlled substances acts to stem addiction, which had

             curtailed the prescription of opioids. 104 This regulation, explained Opioid Analgesia, “contributed

             to the underuse of opioid medications.” 105

                      135.    As with all other books, guidelines, and CMEs promoted by Front Groups and

             KOLs, Opioid Analgesia peddled the alleged absolute need for opioids in light of the chronic pain



             101
                 Perry G. Fine, M.D. and Russell K. Portenoy, M.D., A Clinical Guide to Opioid Analgesia, McGraw-Hill, 2004.
             102
                 Id. at 2.
             103
                 Id. at 3.
             104
                 Fine, supra.
             105
                 Id. at 6.

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             epidemic. “Because pain is inherently subjective, patient self-report is the ‘gold standard’ for

             assessment.” 106 If there is no discernible reason for the pain, then it should be characterized as

             “idiopathic.” 107 Regardless of how the pain is characterized, the solution, per Opioid Analgesia, is

             opioids.

                      136.      “While opioid analgesics are controlled substances, they are also essential

             medication and are absolutely necessary for relief of pain.” 108 “Opioid analgesics should be

             accessible to all patients who need them for relief of pain.” 109 Brushing away any concerns about

             addiction, Opioid Analgesia posits that “[a] patient who has reached middle age without

             developing compulsive use behaviors to potentially abusable drugs, including alcohol and nicotine,

             appears to be at a very low risk” of addiction, especially if “there is no family history of

             addiction.” 110

                      137.      Underplaying the risks of addiction, Opioid Analgesia falsely claimed that

             “[o]verall, the literature provides evidence that the outcomes of the drug abuse and addiction are

             rare among patients who receive opioids for a short period (i.e., for acute pain) and among those

             with no history of abuse who receive long-term therapy for medical indications.” 111 Even while

             admitting there is “very little information about the risks of misuse, abuse, or addiction among

             different opioid-treated populations” and even admitting that “[w]hen misused, opioids pose a

             threat to society,” 112 Defendants’ intentionally marketed opioids as effective and safe for treatment

             of chronic pain and summed up the risk of addiction for short-term therapy as “rare.” 113


             106
                 Fine, supra, at 34.
             107
                 Id. at 35.
             108
                 Id. at Table 1.
             109
                 Id.
             110
                 Id. at 21.
             111
                 Id.
             112
                 Id. at 31, 2.
             113
                 Fine, supra, at 34.

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                       138.   Of course, when addiction is as narrowly defined as it is in the books, CMEs, and

             guidelines that Defendants publish, the risk of addiction would be termed as “rare.” The behaviors

             cited in Opioid Analgesia as “probably more suggestive” of addiction included:

                              ·      Selling prescription drugs;

                              ·      Forging prescriptions;

                              ·      Stealing or “borrowing” drugs from others;

                              ·      Injecting or inhaling (snorting, smoking) oral formulations; and

                              ·      Obtaining the prescription drugs from nonmedical sources. 114

                       139.   Whereas the following behaviors are “probably less suggestive” of addiction:

                              ·      Aggressive complaining about the need for more drug;

                              ·      Drug hoarding during periods of reduced symptoms;

                              ·      Requesting specific drugs; and

                              ·      Using the drug, without approval, to treat another symptom. 115

                       140.   Instead of these behaviors being symptoms of possible addiction, Dr. Portenoy

             terms these behaviors as a “phenomenon” termed “pseudoaddiction.” 116 Pseudoaddiction allows

             physicians to discount these behaviors because “they are driven by desperation surrounding

             unrelieved pain” and are “eliminated by measures that relieve the pain, such as an increase in

             medication.” 117 Instead of treating the “less suggestive” symptoms for what they are – signs of

             addiction.

                       141.   Opioid Analgesic was a success for Defendants in that it has been and continues to

             be used extensively in CMEs, pamphlets, and reading lists for physicians looking for information


             114
                 Id. at 85.
             115
                 Id.
             116
                 Id. at 35.
             117
                 Id.

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             regarding opioids. For example, Opioid Analgesia was recently cited in a presentation at the

             University of North Texas College of Pharmacy on April 28, 2017, entitled Adverse Drug Events

             Associated with Opiate-Based Pain Management. It has also been listed as a reference for a CME

             entitled The Management of Opioid-Induced Constipation published by the University of North

             Texas Health Science Center, which was valid for CME from May 2009 to May 2010. Finally,

             the book was included in the suggested reading list for a seminar entitled When Opioids Are

             Indicated for Chronic Pain presented on March 26, 2011, in Houston, Texas.

                            2. Lynn Webster

                    142.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

             of Lifetree Clinical Research, an otherwise-unknown pain clinic in Salt Lake City, Utah. Dr.

             Webster was President in 2013 and is a current board member of AAPM, a Front Group that

             ardently supports using opioids for chronic pain. He is a Senior Editor of Pain Medicine, the same

             journal that published Endo special advertising supplements recommending Opana ER. Dr.

             Webster authored numerous CMEs sponsored by Endo and Purdue while he was receiving

             significant funding from Defendants.

                    143.    In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled

             Managing Patient’s Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended

             using risk screening tools, such as urine testing and patient agreements as a way to prevent

             “overuse of prescriptions” and “overdose deaths,” which was available to and was intended to

             reach doctors treating Rockwall County residents.

                    144.    Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

             notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

             pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s



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             dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While

             Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

             behavior, increasing the dose “in most cases…should be the clinician’s first response.” Endo

             distributed this book to doctors.

                        145.    Years later, Dr. Webster reversed himself, acknowledging that “[pseudoaddiction]

             obviously became too much of an excuse to give patients more medication.” 118 Dr. Webster also

             admits that “[i]t’s obviously crazy to think that only 1% of the population is at risk for opioid

             addiction.” 119

                        c.      Front Groups Surreptitiously               Bankrolled      by    Defendants      Affirmed
                                Defendants’ Falsities.

                        146.    Defendants entered into arrangements with seemingly unbiased and independent

             patient and professional organizations to promote opioids for treating chronic pain. Under

             Defendants’ direction and control, these “Front Groups” generated treatment guidelines,

             unbranded materials, and programs that favored using opioids for chronic non-cancer pain. They

             also assisted Defendants by responding to negative articles, by advocating against regulatory

             changes that would limit prescribing opioids in accordance with the scientific evidence, and by

             conducting outreach to vulnerable patient populations targeted by Defendants.

                        147.    These Front Groups depended on Defendants for funding and, in some cases, for

             survival. Defendants also exercised control over programs and materials created by these groups

             by collaborating on, editing, and approving their content, and by funding their dissemination. In

             doing so, Defendants made sure these Front Groups would generate only the messages Defendants

             wanted to distribute. Even so, the Front Groups held themselves out as independent and as serving


             118
                   John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL, Feb. 19, 2012.
             119
                   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.17, 2012.

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             the needs of their members – whether patients suffering from pain or doctors treating those

             patients.

                     148.    Defendants Endo, Janssen, and Purdue utilized many Front Groups, including

             many of the same ones. Several of the most prominent are described below, but there are many

             others, including the American Pain Society (“APS”), American Geriatrics Society (“AGS”), the

             Federation of State Medical Boards (“FSMB”), American Chronic Pain Association (“ACPA”),

             American Society of Pain Education (“ASPE”), National Pain Foundation (“NPF”) and Pain &

             Policy Studies Group (“PPSG”).

                             1. American Pain Foundation (“APF”)

                     149.    APF was founded in 1997 and professed to be an independent non-profit 501(c)(3)

             organization “serving people with pain through information, advocacy and support.” 120 It had a

             membership of “close to 100,000 and growing” in 2010 and claimed to be the “largest advocacy

             group for people with pain.” 121 The APF lauded its participation in “close to 100 policy activities,”

             which included testifying at legislative hearings to securing state and local proclamations for Pain

             Awareness Month. 122

                     150.    APF, however, as the most prominent of Manufacturing Defendants’ Front Groups,

             received more than $10 million in funding from opioid manufacturers from 2007 until it closed

             its doors in May 2012. Endo alone provided more than half that funding; Purdue was next at $1.7

             million. Despite the influx of funds from pharmaceutical companies, APF claimed to be an

             independent patient advocacy group.

                     151.    In 2009 and 2010, more than 80% of APF’s operating budget came from


             120
                 American Pain Foundation, Treatment Options: A Guide for People Living with Pain, www.painfoundation.org;
             see also 2010 Annual Report, American Pain Foundation.
             121
                 2010 Annual Report, supra.
             122
                 Id.

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             pharmaceutical industry sources. Including industry grants for specific projects, APF received

             about $2.3 million from industry sources out of total income of about $2.85 million in 2009. In

             2010, Endo paid APF more than $1 million and Purdue paid APF between $1 million and 4.9

             million.123 By 2011, APF was entirely dependent on incoming grants from Purdue, Endo, and

             others to avoid using its line of credit. One of its board members, Russell Portenoy, explained the

             lack of funding diversity was one of the biggest problems at APF.

                      152.     APF issued education guides for patients, reporters, and policymakers that

             recommended opioids for chronic pain while trivializing their risks, particularly the risk of

             addiction. Its Pain Community News, an “esteemed” quarterly newsletter, had a print circulation

             of more than 68,000 plus additional online readers. 124 Its monthly electronic newsletter, Pain

             Monitor, was a monthly newsletter that provided links to pain-related news and research. 125 The

             APF also provided “patient representatives” for Defendants’ promotional activities, including

             Purdue’s Partners Against Pain 126 and Janssen’s Let’s Talk Pain. 127

                      153.     In one of its publications, Treatment Options: A Guide for People Living with Pain,

             (“Treatment Options”), APF recognized contributions from Cephalon and Purdue. 128 Treatment

             Options was reviewed by Scott Fishman, M.D., Vice Chairman of the APF Board of Directors,

             and Russell Portenoy, M.D., a Member of the APF Board of Directors and also a KOL. 129

             Treatment Options set the stage for prescribing opioids by explaining their underuse despite their




             123
                 2010 Annual Report, supra.
             124
                 Id. at 2.
             125
                 2010 Annual Report, supra, at 2.
             126
                 In its “Partner against Pain” website, Purdue claimed that the risk of addiction from the use of OxyContin in treating
             “chronic non-cancer pain” was “extremely small”; see also Zee, Ex. B, at 3.
             127
                 Let’s Talk Pain was a “coalition effort that focus[ed] on supporting positive patient-provided communications”
             regarding pain.
             128
                 Treatment Options, supra, at ii.
             129
                 Id. at iv.

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             benefits. 130 It dismissed the risk of addiction with the rhetoric that physical dependence was nothing

             more than symptoms or signs of withdrawal that occurred when opioids were stopped suddenly or

             the dose lowered too quickly. 131

                      154.     Responsible Opioid Prescribing and The War on Pain both had a tremendous

             impact on doctors’ prescribing habits. In 2000, Scott Fishman, M.D., who served on APF’s board,

             co-authored The War on Pain (“Pain War”) as general authoritative information about pain

             medicine.” 132

                      155.     Pain War seeks new specialties in which opioids can be prescribed for chronic pain.

             Rheumatologists treating arthritis have been overlooked because they were more prone to

             prescribe NSAIDS instead of opioids, such as morphine. 133 But such “outdated ideas about

             addiction and concerns about social stigmas” need to evolve because opioids offer “substantial

             relief” with “less severe long-term side effects than chronic anti-inflammatories.” 134

                      156.     Pain War advocates for physical dependence to opioids, and equates withdrawal

             symptoms from opioid drugs to that of cessation of coffee drinking. A “pain patient who is

             dependent on opioids finds life restored,” the book advises, and then explains that removing a

             patient from opioids causes physical, not psychological, consequences, like quitting coffee. 135

             Addiction to opioids is treated as a “phobia” or “notion” that “using opioids” are “always

             addictive.” 136

                      157.     Pain War censures the failure to prescribe opioids and even suggests that such



             130
                 Treatment Options, supra at 11.
             131
                 Id. at 14 (referring to symptoms such as sweating, rapid heart rate, nausea, diarrhea, goosebumps, and anxiety).
             132
                 Scott Fishman, M.D., with Lisa Berger, The War on Pain, First Quill, 1st ed., 2000.
             133
                 Id. at 154.
             134
                 Fishman, War on Pain, supra, at 155.
             135
                 Id. at 187.
             136
                 Id. at 185.

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             failure is a criticism of the patient. For example:

                                Doses tend to be too low, the right narcotic preparation tends to be avoided, and the
                                prescribing period is often too short. Medicine’s reluctance to use appropriate doses
                                of opioid drugs gives patients the wrong message – their pain isn’t that important,
                                they are not trustworthy, they may be addicts, they are bad people if they take drugs
                                even if they are prescribed. 137

                        158.    Pain War was distributed across the nation, and sold in Texas, as evidence by a

             seller from Texas offering the used book for $15.99 plus $5.99 in shipping costs on Amazon.com.

                        159.    As late as 2008, the APF was still relaying the same message. In A Reporter’s

             Guide: Covering Pain and Its Management (“Reporter’s Guide”), the APF extolled that “[t]he

             person with pain is the authority on the existence and severity of his/her pain. The self-report is

             [the] most reliable indicator.” The Reporter’s Guide referred to pain as a health crisis and

             concluded that it affected more Americans than “diabetes, heart disease and cancer combined.”

                        160.    Yet APF, Defendants’ Front Group also knew that:

                                ·         71% of people abusing prescription pain relievers received them from a
                                     friend or family member without a prescription;

                                ·       Approximately 2.2 million Americans abused pain medication for the first
                                     time in 2006; and

                                ·       Between 1992 and 2002, reported abuse by teenagers increased by 542%.

                        161.    Even though Defendants knew about the risks involved in prescribing opioids or

             ingesting opioids, they continued to disseminate a story about a “pain epidemic” that could be

             treated only through the use of opioids. Even a 542% increase in abuse by teenagers in the United

             States in the span of ten years did not make Defendants change their marketing strategy or

             otherwise modify their educational or promotional materials concerning the risks associated with

             the use of opioids.


             137
                   Fishman, War on Pain, supra.

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                      162.   In addition to these publications, APF also engaged in a significant multimedia

             campaign – through radio, television, and the internet – to educate patients about their “right” to

             pain treatment, namely opioids. APF’s local and national media efforts resulted in 1,600 media

             stories on pain in 2010, which was an increase of 1,255% from 2009. APF surmised that it reached

             more than 600 million people with information and education related to pain. All of the programs

             and materials were available nationally and were intended to reach patients and consumers in

             Rockwall County.

                      163.   APF’s website was visited by nearly 275,000 people in 2010 and a National Pain

             Foundation was expected to be complete in 2011. In May 2012, the U.S. Senate Finance

             Committee began investigating the financial ties between Front Groups and trade organizations,

             such as APF and the FSMB, and the opioid manufacturers. This investigation not only caused

             damage to APF’s credibility but caused Defendants to cease its funding.

                      164.   The Senate Finance Committee intended to investigate whether pharmaceutical

             companies were responsible for the opioid epidemic by “promoting misleading information about

             the drugs’ safety and effectiveness.” 138 The Senate Finance Committee was concerned that a

             “network of national organizations and researchers with financial connections to the makers of

             narcotic painkillers…helped create a body of dubious information ‘favoring opioids’ that can be

             found in prescribing guidelines, patient literature, position statements, books and doctor education

             courses.” 139

                      165.   The Senate Finance Committee was especially concerned that “[a]mong the

             FSMB’s educational initiatives has been the development and distribution of a guidebook intended



               See Letter to Dr. Humayun J. Chaudhy dated May 8, 2012 from Charles E. Grassley and Max Baucus, at p. 2.
             138
             139
                Id. quoting Milwaukee Journal Sentinel/MedPage Today, Follow the Money: Pain, Policy, and Profit, Feb. 19,
             2012, available at http://medpagetoday.com/Neurology/PainManagement/31256.

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             to help physicians recognize the risk of opioids and follow responsible and safe prescribing

             standards.” 140 Hence, Dr. Fishman and his book Opioid Prescribing: A Physician’s Guide, the first

             edition of which was released in 2007 and later accredited by the University of Wisconsin School

             of Medicine and Public Health, was at the center of the investigation. 141

                      166.   The Senate Finance Committee asked for any grants or financial transfers used to

             produce the book, the revenue generated from the sale of the book, each state that distributed the

             book, and the names of any people or organization involved in writing or editing the book. 142

                      167.   Within days, APF’s board voted to dissolve the organization and it ceased to exist.

             The FSMB responded to the Senate Finance Committee’s inquiry, however, and agreed that “the

             abuse and misuse of opioids is a serious national problem.” 143 Dr. Chaudhy, speaking on behalf of

             the FSMB, acknowledged that “prescription drug abuse and related deaths has grown at an

             alarming pace in the United States.” 144 Dr. Chaudhy described Dr. Fishman, the author of Opioid

             Prescribing, as “one of the nation’s leading experts in pain medicine.” 145

                      168.   Opioid Prescribing was released from 2007 through January 2012, was distributed

             in each of the 50 states, including Texas, and supported in the medical community as an

             educational resource for doctors. 146 The book is still being sold today on websites such as Amazon

             and Ebay. Dr. Fishman also toured and gave keynote speeches about Opioid Prescribing. For

             example, Dr. Fishman presented the keynote at the Federation of State Medical Board Meeting in




             140
                 Chaudhy Letter, supra, at 5 (emphasis in original).
             141
                 Id.
             142
                 Id. at 3.
             143
                 Letter to Max Baucus and Charles Grassley dated June 8, 2012 from Humayun J. Chaudhy, DO, FACP, at 1.
             144
                 Chaudhy Letter, supra, at 1.
             145
                 Id. at 5.
             146
                 Chaudhy Letter, supra.

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             Fort Worth, Texas on April 28, 2012, which lasted three days. 147 The book was also used

             extensively by state regulators to make safe and responsible decisions about prescribing opioids. 148

                      169.   As described herein, Dr. Fishman and his book were partly funded by Endo and

             Purdue, among others as evidenced in the response. In 2004, Purdue paid $87,895 in the form of

             a grant to the FSMB to update the FSMB Model Guidelines for the Use of Controlled Substances

             in the Treatment of Pain, along with other objectives related to opioids. 149 In 2005, Purdue paid

             $244,000 to FSMB and in 2006, Purdue paid $207,000 to FSMB for the continuation of the same

             project. 150 In 2008, Endo and Purdue each paid $100,000 in the form of a grant for the distribution

             of Responsible Opioid Prescribing. 151 Thus, from 2000-2012, Purdue paid $734,505.06 and Endo

             paid $411,620.00 to the FSMB and FSMB Foundation.

                      170.   Dr. Chaudhy’s response merely underscored Defendants’ role, through KOLs and

             Front Groups, in controlling the message these groups conveyed about opioids.

                             2. American Academy of Pain Medicine (“AAPM”)

                      171.   The American Academy of Pain Medicine, with Defendants’ assistance, prompting,

             involvement, and funding, issued treatment guidelines and sponsored and hosted medical

             education programs essential to Defendants’ deceptive marketing of chronic opioid therapy.

                      172.   AAPM received over $2.2 million in funding since 2009 from opioid

             manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

             year (on top of other funding) to participate. The benefits included allowing members to present

             educational programs at off-site dinner symposia in connection with AAPM’s marquee event – its


             147
                 U.C. Davis, Fishman Gives Keynote at Federation of State Medical Boards Meeting, May 1, 2012, available at
             https://ucdmc.ucdavis.edu/publish/news/newsroom/6523.
             148
                 Chaudhy, supra, at 5, 17.
             149
                 Id. at 11.
             150
                 Id. at 11-12.
             151
                 Id. at 12.

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             annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

             annual event as an “exclusive venue” for offering education programs to doctors. Membership in

             the corporate relations council also allows drug company executives and marketing staff to meet

             with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

             Actavis were members of the council and presented deceptive programs to doctors who attended

             this annual event.

                      173.    AAPM is viewed internally by Endo as “industry friendly,” with Endo advisors and

             speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

             distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

             on opioids – 37 out of roughly 40 at one conference alone. AAPM’s presidents have included top

             industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

             elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

             Scott Fishman, stated that he would place the organization “at the forefront” of teaching that “the

             risks of addiction are…small and can be managed.” 152

                      174.    Defendants influenced AAPM through both their significant and regular funding

             and the leadership of pro-opioid KOLs within the organization. AAPM’s staff understood they and

             their industry funders were engaged in a common task – propagate a “pain epidemic” and solve it

             by teaching that opioids were safe and effective for treating chronic pain.

                      175.    In 1997, AAPM and the American Pain Society jointly issued a consensus

             statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

             chronic pain and claimed there was a low risk that patients would become addicted to opioids. The



             152
                 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
             of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
             http://www.medscape.org/viewarticle/500829.

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             co-author of the statement, Dr. Haddox, was a paid speaker for Purdue at the time. Dr. Portenoy,

             Defendants’ KOL, was the sole consultant. The consensus statement remained on AAPM’s

             website until 2011.

                     176.   AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

             and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel

             members who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry

             Fine of the University of Utah, received support from Janssen, Endo, and Purdue.

                     177.   The 2009 Guidelines promote opioids as “safe and effective” for treating chronic

             pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

             manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

             Clinical Professor of Neurology at Michigan State University and founder of the Michigan

             Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

             Guidelines were influenced by contributions that drug companies, including Defendants, made to

             the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

             a particularly effective channel of deception and have influenced not only treating physicians, but

             also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

             academic literature, were disseminated in and around Rockwall County during the relevant time

             period, are still available online, and were reprinted in the Journal of Pain.

             B.      Defendants’ Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

                     178.   To convince doctors and patients in Rockwall County that opioids can and should

             be used to treat chronic pain, Defendants had to convince them that long-term opioid use is non-

             addictive, safe, and effective. Knowing they could do so only by deceiving those doctors and

             patients about the risks and benefits of long-term opioid use, Manufacturing Defendants made



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             claims that were not supported by, and were contrary to, the scientific evidence. Defendants have

             not corrected their misrepresentations.

                    179.    Defendants deceptively trivialized and failed to disclose the risks of long-term

             opioid use, particularly the risks of addiction and overdose, through a series of misrepresentations

             that have since been conclusively debunked by numerous published studies and the magnitude of

             human misery caused by Defendants’ deceptions. These misrepresentations – which are described

             below – reinforced each other and created the dangerously misleading impression that opioids are

             the best treatment option for any recurrent moderate pain because: (1) only a miniscule number of

             patients, if any, would become addicted; (2) all patients with a substantial risk of becoming

             addicted to opioids could be readily identified; (3) patients who displayed signs of addiction

             probably were not addicted and, in any event, could easily be weaned from the drugs; (4) the use

             of higher opioid doses do not escalate risk of addiction or overdose; and (5) “abuse-deterrent”

             opioids are reliably safe and effective for perpetual use. Defendants still espouse these

             misrepresentations today.

                    180.    First, Defendants falsely claimed the risk of addiction is low and unlikely to

             develop when opioids are prescribed, as opposed to those obtained illicitly; and failed to disclose

             the greater risk of addiction with prolonged use of opioids. For example:

                            a)                Actavis’s predecessor caused a patient education brochure to be
                                    distributed in 2007 claiming opioid addiction is possible, but “less likely if
                                    you have never had an addiction problem.” Upon information and belief,
                                    based on Actavis’s acquisition of its predecessor’s marketing materials
                                    along with the rights to Kadian, Actavis continued to use this brochure in
                                    2009 and beyond;

                            b)              Purdue sponsored APF’s Treatment Options: A Guide for People
                                    Living with Pain (2007), which instructed that addiction is rare and limited
                                    to extreme cases of unauthorized dose escalations, obtaining duplicative
                                    opioid prescriptions from multiple sources, or theft. This publication is still
                                    available online;


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                             c)               Endo sponsored a website, Painknowledge.com, which claimed in
                                      2009 that “[p]eople who take opioids as prescribed usually do not become
                                      addicted.” Another Endo website, PainAction.com, stated “Did you know?
                                      Most chronic pain patients do not become addicted to the opioid
                                      medications that are prescribed for them.”;

                             d)              Endo distributed a pamphlet with the Endo logo entitled Living with
                                      Someone with Chronic Pain, which stated that: “Most health care providers
                                      who treat people with pain agree that most people do not develop an
                                      addiction problem.” A similar statement appeared on the Endo website,
                                      www.opana.com;

                             e)            Janssen reviewed, edited, approved, and distributed a patient education
                                      guide entitled Finding Relief: Pain Management for Older Adults (2009),
                                      which described as “myth” the claim that opioids are addictive, and asserted
                                      as fact that “[m]any studies show that opioids are rarely addictive when
                                      used properly for the management of chronic pain.”;

                             f)                Janssen currently runs a website, Prescriberesponsibly.com (last
                                      updated July 2, 2015), which claims that concerns about opioid addiction
                                      are “overestimated”;

                             g)              Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                                      Pain & Its Management – which claims that less than 1% of children
                                      prescribed opioids will become addicted and that pain is undertreated due
                                      to “misconceptions about opioid addiction[].” This publication is still
                                      available online; and

                             h)                Detailers for Purdue, Endo, and Janssen in and around Rockwall
                                      County minimized or omitted any discussion with doctors of the risk of
                                      addiction; misrepresented the potential for opioid abuse with purportedly
                                      abuse-deterrent formulations; and routinely did not correct the
                                      misrepresentations noted above.

                      181.   These claims contradict empirical evidence. As noted by the CDC, there is

             “extensive evidence” of the “possible harms of opioids (including opioid use disorder [an

             alternative term for opioid addiction]).” 153 The CDC has explained that “[o]pioid pain medication

             use presents serious risks, including…opioid use disorder” and that “continuing opioid therapy for


             153
                Centers for Disease Control and Prevention, CDC Guideline for Prescribing Opioids for Chronic Pain – United
             States 2016, 65:1 Morbidity and Mortality Weekly Report 1, 15 (Mar. 18, 2016).

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             3 months substantially increases risk for opioid use disorder.” 154 Among the 12 recommendations

             by the new CDC guidelines to improve patient care and safety is that non-opioid therapy is

             preferred for chronic pain unless there is active cancer or it is for palliative and end-of-life care. 155

                      182.    Defendants’ long-standing claims that opioid addiction and overdose are anomalies

             largely attributable to patient abuse of the drug, are demonstrably false. Indeed, the majority of

             cases involving injury and death occur in people using opioids exactly as prescribed .

                      183.    In 2010, a study addressed the rates of opioid overdose with patients receiving

             average prescribed daily opioids versus patients receiving medically prescribed chronic opioid

             therapy. 156 The patients included those receiving three-plus opioid prescriptions within 90-days for

             chronic non-cancer pain between 1997 and 2005. 157 Patients who received 50-99 mg had a 3.7-fold

             increase in overdose risk (95% C.I. 1.5, 9.5) and a 0.7 annual overdose rate. 158

                      184.    The authors determined that even though opioids provide some pain relief for

             chronic pain, balancing the long-term risks with the benefits was still “poorly understood.” 159

             Those patients who had not received opioids lately had a lower risk of overdose, however, than

             patients consistently receiving opioids at a low dosage. 160

                      185.    The authors pointed to previous studies that indicated a rise in opioid-related

             overdoses with an increase in prescribing opioids for non-cancer pain, but the belief that such

             phenomenon was caused by patients obtaining opioids from non-medical sources. 161 This study,




             154
                 Id. at 2, 25.
             155
                 Id. at 16.
             156
                 Kate M. Dunn, Ph.D., Kathleen W. Saunders, J.D., Overdose and Prescribed Opioids: Association among Chronic
             Non-Cancer Pain Patients, Ann. Intern. Med. (Dec. 10, 2010), at 2.
             157
                 Id.
             158
                 Id.
             159
                 Id.
             160
                 Dunn, supra, at 6.
             161
                 Id. at 7.

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             however, proves for the first time that the risk of overdose is directly linked to the prescription and

             use of medically prescribed opioids. 162

                      186.    The authors of a Washington study in which the authors obtained Washington

             Medicaid data from the Washington Heath Care Authority reached a similar conclusion. 163 The

             opioid prescription claim history was examined for each “opioid poisoning” for the months that

             enrollees received Medicaid FFS prescription benefits. 164 The authors concluded that a large

             percentage of opioid poisonings happened at lower prescribed doses and in individuals who were

             not considered chronic users. 165

                      187.    The authors noted that previous opioid guidelines focused on opioid doses above

             80-120 mg/d MED even though previous studies showed risk of opioid deaths and poisonings at

             much lower doses and that most non-methadone opioid poisonings had been prescribed below

             these guidelines levels. 166 The authors concluded that only a small percentage of patients are

             prescribed opioids at a dosage greater than 120 mg/d MED, but that a large percentage of the

             opioids poisonings have been occurring in patients taking lower doses and in patients not

             considered chronic users. 167 Overdoses were therefore occurring in patients prescribed opioids for

             chronic non-cancer pain at increased rates and the overdose risk increased with an average

             prescription dose. 168 The guidelines and other educational material regarding opioids need to be

             changed to reflect the opioid poisoning among this population. 169




             162
                 Id.
             163
                 Deborah Fulton-Kehoe, Ph.D., Opioid Poisonings in Washington State Medicaid: Trends, Dosing, and Guidelines,
             53 Medical Care 8 (Aug. 2015), at 680.
             164
                 Id.
             165
                 Id.
             166
                 Fulton-Kehoe, supra at 683.
             167
                 Id. at 684.
             168
                 Fulton-Kehoe, supra.
             169
                 Id.

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                    188.    In fact, “[t]he majority of deaths (60%) occur in patients when they are given

             prescriptions based on prescribing guidelines by medical boards with 20% of deaths in low dose

             opioid therapy….” The way to cure the “crisis of opioid use in the United States” is to change

             “inappropriate prescribing patterns, which are largely based on a lack of knowledge, perceived

             safety, and inaccurate belief of undertreatment of pain.”

                    189.    Another study found that approximately 60% of overdoses occur in medical users

             of opioids prescribed by a single physician to manage chronic pain. Non-medical users comprise

             only a statistical minority of opioid overdoses.

                    190.    Scientific evidence underscores the conclusion that low-dose opioid therapy for

             chronic pain, opioids taken as prescribed, opioids obtained from a single doctor, and opioids

             prescribed pursuant to prescribing guidelines cause many overdoses. Manufacturing Defendants,

             however, disseminated contrary messaging throughout their marketing campaigns to sell more

             opioids.

                    191.    Second, Defendants falsely instructed doctors and patients that signs of addiction

             are actually signs of undertreated pain and should be treated by prescribing more opioids.

             Defendants called this phenomenon “pseudoaddiction” – a term coined by Dr. David Haddox, who

             went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and

             Purdue – and claimed that pseudoaddiction is substantiated by scientific evidence. For example:

                            a)             Purdue sponsored Responsible Opioid Prescribing (2007), which
                                    taught that behaviors such as “requesting drugs by name,” “demanding
                                    or manipulative behavior,” seeing more than one doctor to obtain
                                    opioids, and hoarding, are all signs of pseudoaddiction, rather than true
                                    addiction. Responsible Opioid Prescribing remains for sale online. The
                                    2012 edition continues to teach that pseudoaddiction is real;

                            b)           Janssen sponsored, funded, and edited the Let’s Talk Pain website,
                                    which in 2009 stated: “pseudoaddiction…refers to patient behaviors that
                                    may occur when pain is under-treated….Pseudoaddiction is different

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                                       from true addiction because such behaviors can be resolved with
                                       effective pain management.”;

                              c)            Endo sponsored a National Initiative on Pain Control (NIPC) CME
                                       program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                                       While Maximizing Analgesia, which promoted pseudoaddiction by
                                       teaching that a patient’s aberrant behavior was the result of untreated
                                       pain. Endo substantially controlled NIPC by funding NIPC projects;
                                       developing, specifying, and reviewing content; and distributing NIPC
                                       materials;

                              d)                Purdue published a pamphlet in 2011 entitled Providing Relief,
                                       Preventing Abuse, which described pseudoaddiction as a concept that
                                       “emerged in the literature” to describe the inaccurate interpretation of
                                       [drug-seeking behaviors] in patients who have pain that has not been
                                       effectively treated.”; and

                              e)                Purdue sponsored a CME program entitled Path of the Patient,
                                       Managing Chronic Pain in Younger Adults at Risk for Abuse. In a role
                                       play, a chronic pain patient with a history of drug abuse tells his doctor
                                       that he is taking twice as many hydrocodone pills as directed. The
                                       narrator notes that because of pseudoaddiction, the doctor should not
                                       assume the patient is addicted even if he persistently asks for a specific
                                       drug, seems desperate, hoards medicine, or “overindulges in unapproved
                                       escalating doses.” The doctor treats this patient by prescribing a high-
                                       dose, long- acting opioid.

                      192.    The 2016 CDC Guideline rejects the concept of pseudoaddiction. The CDC

             Guideline nowhere recommends that opioid dosages be increased if a patient is not experiencing

             pain relief. To the contrary, the Guideline explains that “[p]atients who do not experience

             clinically meaningful pain relief early in treatment…are unlikely to experience pain relief with

             longer-term use,” 170 and that physicians should “reassess [] pain and function within 1 month” 171

             in order to decide whether to “minimize risks of long-term opioid use by discontinuing

             opioids” 172 because the patient is “not receiving a clear benefit.” 173


             170
                 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra. at 13.
             171
                 Id.
             172
                 Id. at 25.
             173
                 Id.

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                        193.     Third, Defendants falsely instructed doctors and patients that addiction risk

             screening tools, patient contracts, urine drug screens, and similar strategies allowed them to

             reliably identify and safely prescribe opioids to patients predisposed to addiction. These

             misrepresentations were especially insidious because Defendants aimed them at general

             practitioners and family doctors who lack the time and expertise to closely manage higher-risk

             patients. Defendants’ misrepresentations made these doctors feel more comfortable prescribing

             opioids to their patients, and patients more comfortable starting opioid therapy for chronic pain.

             For example:

                                 a)              Endo paid for a 2007 supplement in the Journal of Family Practice
                                          written by a doctor who became a member of Endo’s speakers’ bureau in
                                          2010. The supplement, entitled Pain Management Dilemmas in Primary
                                          Care: Use of Opioids, emphasized the effectiveness of screening tools,
                                          claiming that patients at high risk of addiction could safely receive chronic
                                          opioid therapy using a “maximally structured approach” involving
                                          toxicology screens and pill counts;

                                 b)              Purdue sponsored a 2011 webinar, Managing Patient’s Opioid Use:
                                          Balancing the Need and Risk, which claimed that screening tools, urine
                                          tests, and patient agreements prevent “overuse of prescriptions” and
                                          “overdose deaths;” and

                                 c)              As recently as 2015, Purdue has represented in scientific conferences
                                          that “bad apple” patients – and not opioids – are the source of the addiction
                                          crisis and that once those “bad apples” are identified, doctors can safely
                                          prescribe opioids without causing addiction.

                        194.     Once again, the 2016 CDC Guideline confirms these representations are false. The

             Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies –

             such as screening tools, patient contracts, urine drug testing, or pill counts – widely believed by

             doctors to detect and deter outcomes related to addiction and overdose. 174 As a result, the Guideline

             recognizes that doctors should not overestimate the risk screening tools for classifying patients as


             174
                   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra, at 14.

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             high or low risk for opioid addiction because they are insufficient to rule out the risks of long-term

             opioid therapy. 175

                      195.    Fourth, to underplay the risk and impact of addiction and make doctors feel more

             comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

             easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

             disclose the increased difficulty of stopping opioids after long-term use.

                      196.    For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

             Adult, claimed that withdrawal symptoms can be avoided by tapering a patient’s opioid dose by

             10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s Guide to Understanding

             Pain & Its Management, which claimed that “[s]ymptoms of physical dependence can often be

             ameliorated by gradually decreasing the dose of medication during discontinuation.”

                      197.    Defendants deceptively minimized the significant symptoms of opioid withdrawal,

             which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

             abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

             abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

             addiction – and grossly understated the difficulty of tapering, particularly after long-term opioid

             use.

                      198.    Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

             dosage of opioids prescribed should be limited to “minimize the need to taper opioids to prevent

             distressing or unpleasant withdrawal symptoms,” 176 because “physical dependence on opioids is

             an expected physiologic response in patients exposed to opioids for more than a few days.” 177



             175
                 Id.
             176
                 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra, at 24.
             177
                 Id. (emphasis added).

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             The Guideline further states that “tapering opioids can be especially challenging after years on

             high dosages because of physical and psychological dependence” 178 and highlights the difficulties,

             including the need to carefully identify “a taper slow enough to minimize symptoms and signs of

             opioid withdrawal” 179 and pausing and restarting tapers depending on the patient’s response.

                         199.   Contrary to the Treatment Options distributed by the APF, withdrawal from opioids

             involves much more than mere “physical” dependence occurring only when opioids are stopped

             suddenly, or the dose lowered too quickly.

                         200.   Fifth, Defendants falsely claimed that doctors and patients could increase opioid

             dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

             dosages. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for

             long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

             abandoned treatment when patients built up tolerance and lower dosages did not provide pain

             relief. For example:

                                a)            Actavis’s predecessor created a patient brochure for Kadian in 2007
                                       that stated, “Over time, your body may become tolerant of your current
                                       dose. You may require a dose adjustment to get the right amount of pain
                                       relief. This is not addiction.” Upon information and belief, based on
                                       Actavis’s acquisition of its predecessor’s marketing materials along with
                                       the rights to Kadian, Actavis continued to use these materials in 2009 and
                                       beyond;

                                b)             Purdue sponsored APF’s Treatment Options: A Guide for People
                                       Living with Pain (2007), which claims that some patients “need” a larger
                                       dose of an opioid, regardless of the dose currently prescribed. The guide
                                       stated that opioids have “no ceiling dose” and are therefore the most
                                       appropriate treatment for severe pain. This guide is still available for sale
                                       online;

                                c)            Endo sponsored a website, painknowledge.com, which claimed in
                                       2009 that opioid dosages may be increased until “you are on the right dose

             178
                   Id. at 23.
             179
                   Id. at 26.

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                                          of medication for your pain.”;

                                 d)              Endo distributed a pamphlet edited by a KOL entitled Understanding
                                          Your Pain: Taking Oral Opioid Analgesics, which was available during the
                                          time period of this Complaint on Endo’s website. In Q&A format, it asked
                                          “If I take the opioid now, will it work later when I really need it?” The
                                          response is, “The dose can be increased….You won’t ‘run out’ of pain
                                          relief.”;

                                 e)              Janssen sponsored a patient education guide entitled Finding Relief:
                                          Pain Management for Older Adults (2009), which was distributed by its
                                          sales force. This guide listed dosage limitations as “disadvantages” of other
                                          pain medicines but omitted any discussion of risks of increased opioid
                                          dosages;

                                 f)               Purdue’s In the Face of Pain website promotes the notion that if a
                                          patient’s doctor does not prescribe what, in the patient’s view, is a sufficient
                                          dosage of opioids, he or she should find another doctor who will;

                                 g)              Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                                          Pain & Its Management, which taught that dosage escalations are
                                          “sometimes necessary,” even unlimited ones, but did not disclose the risks
                                          from high opioid dosages. This publication is still available online;

                                 h)              Purdue sponsored a CME entitled Overview of Management Options
                                          that is still available for CME credit. The CME was edited by a KOL and
                                          taught that NSAIDs and other drugs, but not opioids, are unsafe at high
                                          dosages; and

                                 i)                Purdue presented a 2015 paper at the College on the Problems of
                                          Drug Dependence, the “the oldest and largest organization in the US
                                          dedicated to advancing a scientific approach to substance use and addictive
                                          disorders,” challenging the correlation between opioid dosage and
                                          overdose.

                        201.     These claims conflict with the scientific evidence, as confirmed by the FDA and

             CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-dose opioids for chronic

             pain are not established” 180 while the “risks for serious harms related to opioid therapy increase at

             higher opioid dosage.” 181


             180
                   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra, at 22.
             181
                   Id. at 22-23.

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                      202.   More specifically, the CDC explains, “there is now an established body of scientific

             evidence showing that overdose risk is increased at higher opioid dosages.” 182 Similarly, there is

             an “increased risk for opioid use disorder, respiratory depression, and death at higher dosages.” 183

             That is why the CDC advises doctors to avoid increasing dosages above 90 morphine milligram

             equivalents per day.

                      203.   Finally, Defendants’ deceptive marketing of the so-called abuse-deterrent

             properties of some of their opioids has created false impressions that these opioids reliably curb

             addiction and abuse.

                      204.   More specifically, Defendants have made misleading claims about the ability of

             their so-called abuse-deterrent opioid formulations to deter use.                 For example, Endo’s

             advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be crush

             resistant in a way that suggested it was more difficult to misuse the product. This claim was false.

                      205.   The FDA warned in a 2013 letter that there was no evidence Endo’s design would

             provide a reduction in oral, intranasal or intravenous use. 184 Moreover, Endo’s own studies, which

             it failed to disclose, showed that Opana ER could still be ground and chewed.

                      206.   In a 2016 settlement with the State of New York, Endo agreed not to make

             statements in New York that Opana ER was designed to be or is crush-resistant. The State found

             those statements false and deceptive because there was no difference in the ability to extract the

             narcotic from Opana ER.

                      207.   Similarly, the 2016 CDC Guideline states that no studies support the notion that

             “abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” 185


             182
                 Id. at 23-24.
             183
                 Id. at 21.
             184
                 See FDA Statement: Original Opana ER Relisting Determination, May 10, 2013.
             185
                 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra. at 22.

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             noting that the technologies – even when they work – “do not prevent opioid abuse through oral

             intake, the most common route of opioid abuse, and can still be abused by nonoral routes.” 186

                       208.   These numerous, long-standing misrepresentations of the risks of long-term opioid

             use spread by Defendants successfully convinced doctors and patients to underestimate those risks.

             C.        Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

                       209.   To convince doctors and patients that opioids should be used to treat chronic pain,

             Defendants had to persuade them that there was a significant benefit to long-term opioid use. But

             as the 2016 CDC Guideline makes clear, there is “insufficient evidence to determine long-term

             benefits of opioid therapy for chronic pain.” 187

                       210.   In fact, the CDC found no evidence showing “a long-term benefit of opioids in pain

             and function versus no opioids for chronic pain with outcomes examined at least 1 year later (with

             most placebo-controlled randomized trials ≤ 6 weeks in duration)” 188 and that other treatments

             were more or equally beneficial and less harmful than long-term opioid use.

                       211.   Nonetheless, Manufacturing Defendants were legion in their misrepresentations

             that opioid drugs were appropriate for use as a long-term lifestyle. For example:

                              a)              Actavis distributed an advertisement that claimed that the use of
                                     Kadian to treat chronic pain would allow patients to return to work, relieve
                                     “stress on your body and your mental health,” and help patients enjoy their
                                     lives;

                              b)            Endo distributed advertisements that claimed that the use of Opana
                                     ER for chronic pain would allow patients to perform demanding tasks like
                                     construction work or work as a chef and portrayed seemingly healthy,
                                     unimpaired subjects;

                              c)         Janssen sponsored and edited a patient education guide entitled Finding
                                     Relief: Pain Management for Older Adults (2009) – which states as “a fact”

             186
                 Id.
             187
                 Id. at 19.
             188
                 Id. at 15.

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                               that “opioids may make it easier for people to live normally.” The guide
                               lists expected functional improvements from opioid use, including sleeping
                               through the night, returning to work, recreation, sex, walking, and climbing
                               stairs;

                         d)        Purdue ran a series of advertisements for OxyContin in 2012 in medical
                               journals entitled “pain vignettes,” which were case studies featuring
                               patients with pain conditions persisting over several months and
                               recommending OxyContin for them. The ads implied that OxyContin
                               improves patients’ function;

                         e)          Responsible Opioid Prescribing (2007), sponsored and distributed by
                               Endo and Purdue, taught that relief of pain by opioids, by itself, improved
                               patients’ function. The book remains for sale online;

                         f)             Purdue sponsored APF’s Treatment Options: A Guide for People
                               Living with Pain (2007), which counseled patients that opioids “give [pain
                               patients] a quality of life we deserve.” The guide was available online until
                               APF shut its doors in 2012;

                         g)           Endo’s NIPC website painknowledge.com claimed in 2009 that with
                               opioids, “your level of function should improve; you may find you are now
                               able to participate in activities of daily living, such as work and hobbies,
                               that you were not able to enjoy when your pain was worse.” Elsewhere, the
                               website promoted improved quality of life (as well as “improved function”)
                               as benefits of opioid therapy. The grant request that Endo approved for this
                               project specifically indicated NIPC’s intent to make misleading claims
                               about function, and Endo closely tracked visits to the site;

                         h)          Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                               Persistent Pain in the Older Patient, which claimed that chronic opioid
                               therapy has been “shown to reduce pain and improve depressive symptoms
                               and cognitive functioning.” The CME was disseminated via webcast;

                         i)           Janssen sponsored, funded, and edited a website, Let’s Talk Pain, in
                               2009, which featured an interview edited by Janssen claiming that opioids
                               allowed a patient to “continue to function.” This video is still available
                               today on YouTube;

                         j)              Purdue sponsored the development and distribution of APF’s A
                               Policymaker’s Guide to Understanding Pain & Its Management, which
                               claimed that “multiple clinical studies” have shown that opioids are
                               effective in improving daily function, psychological health, and health-
                               related quality of life for chronic pain patients.” The Policymaker’s Guide
                               was originally published in 2011 and is still available online today; and



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                              k)             Purdue’s, Endo’s, and Janssen’s sales representatives have conveyed
                                       and continue to convey the message that opioids will improve patient
                                       function.

                      212.    These claims are unsupported by the scientific literature. The 2016 CDC Guideline

             explained, “There is no good evidence that opioids improve pain or function with long-term use” 189

             and “complete relief of pain is unlikely.” 190 The CDC reinforced this conclusion throughout its

             2016 Guideline:

                              a)            “No evidence shows a long-term benefit of opioids in pain and function
                                       versus no opioids for chronic pain with outcomes examined at least 1 year
                                       later….”; 191

                              b)              “Although opioids can reduce pain during short-term use, the clinical
                                       evidence review found insufficient evidence to determine whether pain
                                       relief is sustained and whether function or quality of life improves with
                                       long-term opioid therapy.”; 192 and

                              c)              “[E]vidence is limited or insufficient for improved pain or function
                                       with long-term use of opioids for several chronic pain conditions for which
                                       opioids are commonly prescribed, such as low back pain, headache, and
                                       fibromyalgia.” 193

                      213.    The CDC also noted that the risks of addiction and death “can cause distress and

             inability to fulfill major role obligations.” 194

                      214.    Defendants also falsely emphasized or exaggerated the risks of competing products

             like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

             Once again, Defendants’ misrepresentations contradicted non-industry sponsored scientific

             evidence. In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

             providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for


             189
                 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra, at 20 (emphasis added).
             190
                 Id.
             191
                 Id. at 15.
             192
                 Id. at 18.
             193
                 Id. at 18-19.
             194
                 Id. at 20.

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             12 hours – a fact that Purdue has known at all times relevant to this action.

                     215.   According to Purdue’s own research, OxyContin wears off in under six hours in

             one quarter of patients and in under 10 hours in more than half. The reason is that OxyContin

             tablets release approximately 40% of their active medicine immediately, after which release tapers.

             Although the patient experiences a powerful initial response, there is little or no pain relief at the

             end of the dosing period because less medicine is released.

                     216.   This phenomenon is known as “end of dose” failure, and the FDA found in 2008

             that a substantial number of chronic pain patients taking OxyContin experience it.

                     217.   This “end of dose” failure not only renders Purdue’s promise of 12 hours of relief

             false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

             patients experience toward the end of each dosing period drives them to take more OxyContin

             before the next dosing period begins, quickly increasing the amount of drug they are taking and

             spurring growing dependence.

                     218.   Purdue’s competitors were aware of this problem. For example, Endo ran

             advertisements for Opana ER referring to “real” 12-hour dosing. Nevertheless, Purdue falsely

             promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue’s sales

             representatives continue to tell doctors in and around Rockwall County that OxyContin lasts a full

             12 hours.

             D.      Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

                     219.   Defendants herein participated in illicit and unlawful prescribing of its drugs. For

             example, Purdue did not report illegal prescribing of OxyContin until years after law enforcement

             shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin tablets. In doing

             so, Purdue protected its own profits at the expense of public health and safety.



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                        220.    The State of New York also found that Endo failed to require sales representatives

             to report signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales

             representatives for detailing prescribers who were subsequently arrested or convicted for illegal

             prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

             conduct had caused them to be placed on a no-call list.

             E.         Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

                        221.    As part of their deceptive marketing scheme, Defendants identified and targeted

             susceptible prescribers and vulnerable patient populations in the U.S. and in and around Rockwall

             County. For example, Defendants focused their deceptive marketing on primary care doctors, who

             were more likely to treat chronic pain patients and prescribe opioids, but were less likely to be

             educated about treating pain and the risks and benefits of opioids.

                        222.    Defendants also targeted vulnerable patient populations like the elderly and

             veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even

             though the risks of long-term opioid use were significantly greater for them.

                        223.    For example, the 2016 CDC Guideline observes that existing evidence shows that

             elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

             hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

             therefore concludes that there are special risks of long-term opioid use for elderly patients and

             recommends that doctors use “additional caution” to minimize the risks of opioid use in elderly

             patients. 195

                        224.    The same is true for veterans, who are more likely to use anti-anxiety drugs

             (benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.


             195
                   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra, at 23.

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                      225.    Manufacturing Defendants achieved their goal in targeting these vulnerable

             populations when the Arthritis Foundation published its Guide to Pain Management in 2003

             (“Pain Management Guide”). 196 The Pain Management Guide was published by a neutral third

             party that not only believed the message Defendants had been selling for years, but it continued to

             relay that message to patients experiencing chronic pain – elderly patients with arthritis. 197

                      226.    The Pain Management Guide was intended for a population of “70 million

             Americans who have arthritis or other related diseases.” 198 It parroted falsities, such as the low risk

             of developing an addiction to opioids and cited Defendants’ false statistic: “The addiction rate

             from narcotics is approximately one percent.” 199

                      227.    The Arthritis Foundation even accepted and repeated Defendants’ distinction

             between dependence and addiction. A person with dependence suggests he or she would

             experience withdrawal symptoms upon stopping opioids while addiction “is a self-destructive,

             habitual use” of opioids. 200 The Pain Management Guide brushes aside concerns about addiction

             and recommends higher doses of opioids for patients who develop a dependence on opioids 201 –

             the exact message that Defendants had been spouting for years.

                      228.    The fact that neutral third parties were relying on and buying Defendants’ false

             propositions only verifies Defendants’ successful fraud on the medical and non-medical

             community at large.

             F.       Although Defendants knew that their Marketing of Opioids was False and Deceptive,
                      they Fraudulently Concealed their Misconduct.



             196
                 Susan Bernstein, The Arthritis Foundation’s Guide to Pain Management, Arthritis Foundation, 2003.
             197
                 Id.
             198
                 Id.
             199
                 Id. at 70-71.
             200
                 Id. at 70.
             201
                 Id.

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                      229.    Defendants, both individually and collectively, made, promoted, and profited from

             their misrepresentations about the risks and benefits of opioids for chronic pain even though they

             knew their misrepresentations were false and deceptive. Manufacturing Defendants and

             Distributor Defendants alike knew that the marketing scheme being promoted by the

             Manufacturing Defendants was misleading, inaccurate, and simply false. The history of opioids,

             as well as research and clinical experience over the last 20 years, established that opioids were

             highly addictive and responsible for a long list of very serious adverse outcomes.

                      230.    In The Journal of the American Medical Association November 2002 edition,

             which Defendants meant to reach physicians throughout the nation, Purdue advertised OxyContin

             as a safe drug with minimal safety risks. 202 The ad depicts a man and boy fishing with a title in

             large white letters exclaiming that “THERE CAN BE LIFE WITH RELIEF” with “LIFE WITH

             RELIEF” as the largest words in the advertisement. 203 Purdue then informs physicians that “[t]he

             most serious risk associated with opioids, including OxyContin, is respiratory depression.” 204

                      231.    Purdue fraudulently represented that respiratory depression was not only the most

             serious risk for its own drug OxyContin, but for opioids in general, even though it knew that

             opioids carried a risk of addiction and death.

                      232.    The ad continues with benign side effects that may occur with the use of

             OxyContin, such as “constipation, nausea, sedation, dizziness, vomiting, pruritus, headache, dry

             mouth, sweating, and weakness.” 205 These side effects are certainly a far cry from addiction or

             death. This ad also claims that OxyContin is a “continuous around-the-clock analgesic,” which is




             202
                 The Journal of American Medical Association, Nov. 13, 2002.
             203
                 Id. at 1, 3.
             204
                 Id.
             205
                 JAMA, supra.

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             equally false. 206

                      233.    Because of the bold misrepresentations and omissions in its ads occurring in the

             October 2, 2002 JAMA issue, and one occurring in the November 13, 2002 issue, the FDA wrote

             a warning letter to Michael Friedman, the Executive Vice President and Chief Operating Officer

             of Purdue. 207 Mr. Abrams explained that “[y]our journal advertisements omit and minimize the

             serious safety risks associated with OxyContin, and promote it for uses beyond which have been

             proven safe and effective.” 208 Mr. Abrams reprimanded Purdue for failing to present “any

             information” in the advertisement about the “potentially fatal risks” or the potential for abuse

             associated with OxyContin. 209

                      234.    Mr. Abrams was concerned that these advertisements suggested such a “broad use

             of [OxyContin] to treat pain without disclosing the potential for abuse with the drug and the

             serious, potentially fatal risks associated with its use…” 210 Purdue’s actions were “especially

             egregious and alarming” given “its potential impact on the public health.” 211 Mr. Abrams pointed

             out to Purdue the reality that “[i]t is particularly disturbing that your November Ad would tout

             ‘Life with Relief,’ yet fail to warn that patients can die from taking OxyContin.” 212

                      235.    Three current and former executives from Purdue plead guilty in 2007 to criminal

             charges that they misled regulators, doctors, and patients about OxyContin’s risk of addiction. In

             pleading guilty to misbranding charges, Purdue admitted it had fraudulently marketed OxyContin

             as a drug less prone to addiction and as having fewer side effects than other opioids. In reality,


             206
                 JAMA, supra, at 1, 3.
             207
                 Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Michael Friedman, Exec.
             Vice Pres. and COO, Purdue Pharma L.P.
             208
                 Id. at 1.
             209
                 Id.
             210
                 Id. at 2.
             211
                 Id.
             212
                 Id. at 4.

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             unlike most other opioids, OxyContin contained pure oxycodone without any other ingredients,

             which made it a higher-dose narcotic despite its time-release design that Purdue hawked as

             ameliorating its addictive potential.

                      236.    Defendants misrepresented their compliance with their legal duties. Purdue serves

             as an example of such wrongful conduct. Purdue deceptively and unfairly failed to report to

             authorities illicit or suspicious prescribing of its opioids, even as it has publicly and repeatedly

             touted its “constructive role in the fight against opioid abuse,” including its “strong record of

             coordination with law enforcement.” 213

                      237.    Manufacturing Defendants avoided detection of their fraudulent conduct by

             disguising their role in the deceptive marketing through funding and using third parties, such as

             Front Groups and KOLs. Doctors and patients trusted these third parties and did not realize that it

             was the pharmaceutical companies that were actually feeding them false and misleading

             information.

                      238.    Defendants also manipulated their promotional materials and the scientific

             literature to make it appear that the information promoted was accurate, truthful, and supported by

             objective evidence when it was not.

                      239.    Thus, Defendants successfully concealed from the medical community and patients

             facts sufficient to arouse suspicion of the claims Rockwall County now asserts. Rockwall County

             did not know of the existence or scope of Defendants’ industry-wide fraud and could not have

             acquired such knowledge earlier through the exercise of reasonable diligence.

             G.       By Increasing Opioid Prescriptions and Use, Defendants’ Deceptive Marketing

             213
                Purdue, Setting The Record Straight On OxyContin’s FDA-Approved Label (May 5, 2016),
             https://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-oxycontins-fda-approved-
             label/; Purdue, Setting The Record Straight On Our Anti-Diversion Programs, (July 11, 2016),
             https://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-diversion-
             programs/.

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                     Scheme has fueled the Opioid Epidemic and Damaged Rockwall County
                     Communities.

                     240.    Defendants’ misrepresentations deceived doctors and patients about the risks and

             benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

             do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

             warned they might become addicted to opioids prescribed to them. As reported in January 2016,

             a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were

             potentially addictive. 214

                     241.    Defendants’ deceptive marketing scheme caused, and continues to cause, doctors

             in and around Rockwall County to prescribe opioids for chronic pain conditions such as back pain,

             headaches, arthritis, and fibromyalgia. Absent Defendants’ fraud, these doctors would not have

             prescribed as many opioids that negatively impacted residents of Rockwall County.

                     242.    Defendants’ deceptive marketing scheme allowed Individual Defendants to

             promote, over-prescribe, and financially benefit from prescribing opioids for to patients

             complaining of chronic pain.

                     243.    Dr. Richard Andrews was a co-owner and supervising physician of McAllen

             Medical Clinic in Dallas, Texas.69 Dr. Andrews was indicted on December 1, 2015 for, among

             other things, conspiracy to distribute a controlled substance.70 On July 26, 2016, Dr. Andrews

             entered into a plea agreement in which he pleaded guilty.71 On March 3, 2017, Dr. Andrews and

             the Texas Medical Board agreed that his license would be revoked in lieu of further disciplinary

             actions.




             214
                 Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities, Jan. 27, 2016, available at
             http://www.hazeldenbettyford.org/about-us/news-and-media/pressrelease/doctors-missing-questions-that-could-
             prevent-opioid-addiction.

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                     244.    Dr. Theodore Okechuku operated a pain clinic in Lake Highlands located in Dallas,

             Texas.73 Dr. Okechuku was indicted on December 3, 2013 for conspiracy to unlawfully distribute

             a controlled substance. Dr. Okechuku violated the terms of his pre-trial release because he

             continued to prescribe hydrocodone and other controlled substances. Ultimately, Dr. Okechuku

             was found guilty on 3 counts, one related to the distribution of opioids, and sentenced to 25 years.

                     245.    Dr. Nicolas A. Padron operated a “cash only” clinic in Dallas. He, too, was indicted

             for conspiracy to unlawfully distribute controlled substances and ultimately sentenced to 87

             months in federal prison. On May 2, 2014, Dr. Padron agreed to the revocation of his medical

             license in lieu of further disciplinary action.

                     246.    If the manufacturing and distributing Defendants were not over-supplying opioids,

             then physicians like Dr. Andrews, Dr. Okechuku, and Dr. Padron could not devise schemes to

             prescribe opioids without a legitimate purpose as a means to flood the open market with opioids,

             such as OxyContin, Hydrocodone, and Vicodin. Defendants’ deceptive marketing scheme also

             caused, and continues to cause, patients to purchase and use opioids for their chronic pain believing

             they are safe and effective. Absent Defendants’ deceptive marketing scheme, fewer patients would

             be using opioids long-term to treat chronic pain, and those patients using opioids would be using

             less of them.

                     247.    Defendants’ deceptive marketing has caused and continues to cause the prescription

             and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

             corresponds with the dramatic increase in Defendants’ spending on their deceptive marketing

             scheme. Defendants’ spending on opioid marketing totaled approximately $91 million in 2000.

             By 2011, that spending had tripled to $288 million.

                     248.    The escalating number of opioid prescriptions written by doctors who were



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             deceived by Defendants’ deceptive marketing scheme is the cause of a correspondingly dramatic

             increase in opioid addiction, overdose, and death throughout the U.S. and Rockwall County. The

             increase in opioid prescriptions equals an increase in “disability, medical costs, subsequent

             surgery, and continued or late opioid use.”

                      249.    Scientific evidence demonstrates a strong correlation between opioid prescriptions

             and addiction to opioids. In a 2016 report, the CDC explained that prescribing opioids has

             quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses. 215 Indeed,

             there has been a two-third increase in overdose deaths from using opioids since 2000. 216 For these

             reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

             critical “to reverse the cycle of opioid pain medication misuse that contributes to the opioid

             overdose epidemic.” 217

                      250.    Due to the increase in opioid overdoses, first responders, such as police officers,

             have been and will continue to be in the position to assist people experiencing opioid-related

             overdoses. 218 In 2016, “over 1,200 law enforcement departments nationwide carried naloxone in

             an effort to prevent opioid-related deaths.” 219

                      251.    Defendants’ deceptive marketing scheme has also detrimentally impacted children

             in Rockwall County. Overprescribing opioids for chronic pain has made the drugs more accessible

             to school-aged children, who come into contact with opioids after they have been prescribed to

             friends or relatives in the same household.


             215
                 CDC/NCHS, National Vital Statistics System, Mortality, CDC Wonder, Atlanta, GA: US Department of Health
             and Human Services, 2016, available at https://wonder.cdc.gov/; Rudd RA, Seth P, David F, Scholl L, Increases in
             Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, Morb Mortal Wkly Rep., Dec. 16, 2016.
             216
                 CDC, National Vital Statistics System, Mortality, Morb Mortal Wkly Rep., Jan. 1, 2006, at 1378-82, Increases in
             Drug and Opioid Deaths – United States, 2000-2014.
             217
                 CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd, supra.
             218
                 Tex. Att’y Gen. Op. No. KP-0168 (2017).
             219
                 Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.

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                      252.    Defendants’ conduct has adversely affected Rockwall County’s child protection

             agencies in the number of children in foster care driven by parental drug addiction. Children with

             parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

             experienced significant trauma, which makes these cases more expensive for counties like

             Rockwall County.

                      253.    Opioid addiction is one of the primary reasons that Rockwall County residents seek

             treatment for substance dependence. A significant number of admissions for drug addiction were

             associated with a primary diagnosis of opiate addiction or dependence.

                      254.    But for Defendants’ creation, through false and deceptive advertising and other

             unlawful and unfair conduct, of a virtually limitless opioid market, this opioid crisis would not

             have occurred and Rockwall County would not have been harmed. Defendants’ success in

             extending the market for opioids to new patients and chronic pain conditions has created an

             abundance of drugs available for non-medical and criminal use and fueled a new wave of addiction

             and injury. It has been estimated that 60% of the opioids to which people are addicted come,

             directly or indirectly, through doctors’ prescriptions. 220

                      255.    The rise in opioid addiction caused by Defendants’ deceptive marketing scheme

             has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

             the past decade among adults aged 18 to 25 years. 221 Moreover, heroin-related overdoses in the

             United States has more than quadrupled since 2010. 222



             220
                 Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care,
             Apr. 19 2013, at 5 (“The most common source of abused [opioids] is, directly or indirectly, by prescription.”),
             available at http://www.ajmc.com/publications/issue/2013/2013-1-vol19-n4/Prescription-Opioid-Abuse-Challenges-
             and-Opportunities-for-Payers.
             221
                 Centers for Disease Control and Prevention, Vital Signs: Today’s Heroin Epidemic – More People at Risk, Multiple
             Drugs Abused, MMWR 2015, available at https://www.cdc.gov/vitalsigns/heroin/index.html.
             222
                 Id.

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                      256.    The costs and consequences of opioid addiction are staggering. For example, in

             2007, the cost of healthcare due to opioid addiction and dependence was estimated at 25 billion,

             the cost of criminal justice was estimated at 5.1 billion, and the cost of lost workplace productivity

             was estimated at 25.6 billion.

                      257.    Texas had the second highest healthcare costs in 2015 from opioid abuse in the

             nation totaling $1.96 billion. 223 One in five Texas high school students has taken prescription drugs

             without a valid prescription. 224 And four of the top 25 cities for abuse in the United States – two of

             them located in East Texas – is in Texas. 225 In 2017, the Sulphur Spring News-Telegram announced

             a “PANDEMIC” of opioid addiction in America that included Rockwall County. 226

                      258.    The above stated allegations and Defendants’ creation of the opioid epidemic are

             supported by the Texas State Legislature. Recognizing that the epidemic related to opioids and

             substance abuse is directly affecting many people throughout the United States and Texas, the

             Honorable Joe Straus, Speaker of the Texas House of Representatives, on October 23, 2017

             appointed thirteen members from across the state to the Select Committee on Opioids and

             Substance Abuse (Committee) for the 2017/2018 interim. On November 12, 2018, the House

             Select Committee on Opioids and Substance Abuse submitted its interim report, 227 which found

             the following:

                              a)       The opioid epidemic and substance abuse in Texas is real 228;

                              b)       The current epidemic is fueled by two primary factors, the unsubstantiated

             223
                 Craig, Pandemic, supra.
             224
                 Id.
             225
                 Id.
             226
                 Kerry Craig, PANDEMIC - Opioid Addiction Results in one Woman’s Daily Struggle, Sulphur Springs News-
             Telegram, Oct. 7, 2017, available at https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-
             s-daily-struggle/article_bded4eoa-ab80-11e7-a252-d3f304e26628.html.
             227
                 https://house.texas.gov/_media/pdf/committees/reports/85interim/Interim-Report-Select-Committee-on-Opioids-
             Substance-Abuse-2018.pdf
             228
                 Id at p. 90


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                                        claims that were made in the 1980s about opioid addiction being rare and
                                        the increased prescription rates for opiates seen between the 1990s and the
                                        2010s. Opioids also became easier and cheaper to obtain illegally. In 2000,
                                        “Pain as the Fifth Vital Sign” was introduced by the Joint Commission as a
                                        standard to measure the performance of healthcare providers. This was
                                        reinforced by patient satisfaction surveys and accreditation standards and
                                        may have contributed to the increased prescribing of opioids; 229

                               c)       In 2017, over 30,000 drug exposure calls were made to the Texas Poison
                                        Control Center Network, including 5,265 for opioid exposure; 230

                               d)       About 5 percent of Texas college students reported misusing opioids in
                                        2017; 231

                               e)        About 54 percent of offenders within the Criminal Justice System are
                                        identified as needing some level of substance abuse treatment; of these, 70
                                        percent need invasive treatment; 232

                               f)        Within the Department of Family Protective Services (DFPS), caregiver
                                        substance abuse contributed to 68 percent of removals of children; 233

                               g)        The opioid crisis costs Texas $20 billion annually; 234

                               h)       For U.S. hospitals, the cost of treating an opioid overdose victim in intensive
                                         care units rose 60 percent between 2009 and 2015; 235

                               i)       Death certificate data shows that overall, accidental drug overdose deaths in
                                        Texas has been rising since 1999, and opioid related deaths contributed to
                                        almost half of the total accidental overdose deaths in 2015; 236

                               j)       Texas’ county data shows higher numbers of opioid-related inpatient
                                        admissions in the Dallas/Fort Worth (DFW) metroplex, the Houston area,
                                        and along the I-35 corridor. Also, the county data shows that accidental
                                        opioid-related deaths are more prevalent in East Texas, and the DFW and
                                        Houston metro areas 237;



             229
                 Id at p. 9
             230
                 Id at p. 10
             231
                 Id at p. 10
             232
                 Id at p. 11
             233
                 Id at p. 11
             234
                 Id at p. 11
             235
                 Id at p. 11
             236
                 Interim Report, supra at p. 20
             237
                 Id at p. 21


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                               k)        One out of sixteen people prescribed opioids will become addicted 238;

                               l)       Seven days, the number of days needed to become dependent on or addicted
                                        to prescription opioids 239;

                               m)       Nationally, 80 percent of all heroin users first started with prescription
                                        opioids 240;

                               n)              In the U.S., opioid misuse contributes to over 420,000 emergency
                                        department visits each year 241;

                               o)            In Texas, an overnight opioid overdose admission costs over $36,000 242;

                               p)             A JAMA study released in March of 2018 reported that treatment with
                                        opioids was not superior to treatment with non-opioid medications for
                                        improving pain-related function over 12 months. These two recent studies
                                        highlight that in many cases a potentially addictive prescription opioid may
                                        not be necessary to manage one’s pain and that other treatment options are
                                        just as viable 243;

                               q)              Neonatal abstinence syndrome (NAS) is a set of symptoms that can
                                        occur in a newborn that has been prenatally exposed to opioids while in the
                                        mother’s womb. Upon birth, exposure to opioids is abruptly stopped, and
                                        the baby will experience symptoms of withdrawal such as gastrointestinal
                                        problems, crying, feeding issues, and sensitivity to stimuli in the
                                        environment. Substance use among pregnant women impacts the health of
                                        the mother and child and is affected by access to and availability of services
                                        specific to pregnant women 244;

                               r)            Rates of NAS diagnoses in Texas are increasing: Texas Medicaid saw
                                        1,150 diagnoses in 2011 and over 1,300 diagnoses in 2015 245;

                               s)             Texas has a higher NAS average hospital length of stay than national
                                        average; the average hospital length of stay for NAS in Texas is 21 days
                                        while the average is about two weeks 246; and

                               t)                 From 2012 to 2015, 382 maternal deaths in Texas occurring within

             238
                 Id at p. 34
             239
                 Id at p. 34
             240
                 Id at p. 34
             241
                 Id at p. 34
             242
                 Id at p. 34
             243
                 Id at p. 37
             244
                 Id at p. 37
             245
                 Interim Report, supra at p. 38
             246
                 Id at p. 38


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                                        365 deaths of pregnancy were confirmed, and opioids were involved in 37
                                        (58 percent) of maternal drug overdose deaths 247.


                         259.    Prescription opioid addiction and overdose have an enormous impact on the health

             and safety of individuals, as well as communities at large, because the consequences of this

             epidemic reach far beyond the addicted individual.


                         260.    Rockwall County has also expended funds for false claims submitted on the

             County’s health plans that were paid as medically necessary when they were not and prescriptions

             for opioids through worker’s compensation benefits.

                         261.    The repercussions for residents of Rockwall County therefore include job loss, loss

             of custody of children, physical and mental health problems, homelessness and incarceration,

             which results in instability in communities often already in economic crisis and contributes to

             increased demand on community services such as hospitals, courts, child services, treatment

             centers, and law enforcement. Manufacturing Defendants knew, and should have known, about

             the harms that their deceptive marketing has caused, and continues to cause, and will cause in the

             future. Manufacturing Defendants closely monitored their sales and the habits of prescribing

             doctors. Their sales representatives, who visited doctors and attended CMEs, knew which doctors

             were receiving their messages and how they were responding.

                         262.    Manufacturing Defendants also had access to and carefully watched government

             and other data that tracked the explosive rise in opioid use, addiction, injury, and death.

             Manufacturing Defendants not only knew, but intended that their misrepresentations would

             persuade doctors to prescribe and encourage patients to use their opioids for chronic pain.



             247
                   Id at p. 38



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                    263.    Manufacturing Defendants’ actions are neither permitted nor excused by the fact

             that their drug labels may have allowed, or did not exclude, the use of opioids for chronic pain.

             FDA approval of opioids for certain uses did not give Defendants license to misrepresent the risks

             and benefits of opioids. Indeed, Manufacturing Defendants’ misrepresentations were directly

             contrary to pronouncements by, and guidance from, the FDA based on the medical evidence and

             their own labels.

                    264.    Nor is Manufacturing Defendants’ causal role broken by the involvement of

             doctors. Defendants’ marketing efforts were ubiquitous and highly persuasive. Their deceptive

             messages tainted virtually every source doctors could rely on for information and prevented them

             from making informed decisions. And both doctors and patients in Rockwall County relied on

             information Manufacturing Defendants distributed whether it was through ads, magazines, trade

             journals, websites, CMEs, KOLs, and/or front groups. Manufacturing Defendants also hijacked

             what doctors wanted to believe – namely, that opioids represented a means of relieving their

             patients’ suffering and of practicing medicine more compassionately.

                    265.    Likewise, Distributor Defendants knew when there was suspicious opioid

             prescription activity as they do today. They were in a unique position to forestall the epidemic in

             Rockwall County before it began. Instead, Distributor Defendants allowed a flood of opioids to be

             poured into Rockwall County. Rockwall County relied on Distributor Defendants to prevent

             oversupply with distribute prescription drugs, including opioids, only if a valid medical purpose

             existed. At the very least, Rockwall County depended on Distributor Defendants to act as watchful

             and effective gatekeepers in the opioid pipeline as they represent in their public statements.

             Distributor Defendants did neither to Rockwall County’s detriment, proximately causing damage

             to Rockwall County.



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                     266.   The funds that Rockwall County has used and will continue to use for all the costs

             associated with Defendants’ false, misleading, and fraudulent marketing are taxpayer funds.

             Defendants specifically targeted physicians in Rockwall County with fraudulent claims concerning

             the benefits of opioids for chronic pain while omitting the lack of efficacy.

                     267.   Defendants also fraudulently omitted the fact that opioids were addictive even

             though they knew, or should have known, that physicians in Rockwall County would either use

             the misinformation Defendants relayed to them to prescribe opioids to Rockwall County residents

             or give this information to Rockwall County residents, resulting in the over-prescribing and/or

             overuse of opioids in Rockwall County.

                     268.   Defendants’ actions and omissions were each a cause-in-fact of Rockwall County’s

             past and future damages. Defendants’ wrongful conduct caused injuries to Rockwall County in the

             past, continues to cause injuries to Rockwall County, and will continue to cause injuries to

             Rockwall County in the future. Future damages include, but are not limited to, additional resources

             for counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

             skills training for adolescents, increased law enforcement, and additional resources to treat the

             psychological effects of opioids and the underlying conditions that make people susceptible to

             opioid addiction, all of which will be obtained through taxpayer resources.

                H.      Distributor Defendants Knew that Opioids were being Fraudulently Prescribed
                        and Failed to Act.


                     269.   Distributor Defendants are not innocent sellers of opioid drugs. Distributor

             Defendants knew that the marketing scheme promoted by Manufacturing Defendants was

             misleading, false, and deceptive. They knew that opioids were being industry promoted for the

             treatment of virtually any complaint of recurrent pain, and advertised as less addictive, less prone



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             to abuse, less threatening for overdose, and more effective for perpetual use than was true.

             Nevertheless, they have deliberately shirked their duties to monitor suspiciously high prescription

             patterns, and have continued to feed the over-prescribing of opioid drugs. Distributor Defendants

             have long been aware of an opioid overuse epidemic in America, in Texas, and in Rockwall

             County, but chose in each instance to profit by stoking those epidemics with more opioids.

             Distributor Defendants knew that opioids were too often being prescribed without legitimate

             therapeutic purpose, but continued to inundate the market with opioids. Distributor Defendants

             were and continue to be an integral part of the Rockwall County opioid epidemic.

                     270.    As early as 2008, Distributor Defendants knew there was an opioid crisis and they

             were failing in their “critical role” in the supply chain to change or decrease the number of opioids

             being distributed into the market. McKesson paid a $13.25 million fine to settle claims regarding

             suspicious orders of opioids from internet pharmacies in 2008. 248 Cardinal paid a $34 million fine

             for failing regarding suspicious distribution of hydrocodone in 2008. 249 Cardinal also had to close

             down its Lakeland, Florida warehouse because it turned a blind eye to the abundance of opioids

             funneling through only four pharmacies. 250 As such, McKesson and Cardinal knew by 2008, that

             their opioids were too often being oversupplied and distributed and, upon information and belief,

             that suspicion for diversionary purposes existed. This knowledge should have caused McKesson

             and Cardinal to better perform their duties to monitor non-therapeutic opioid prescription orders

             and to refrain from filling these orders as they occurred in Rockwall County. But instead

             McKesson and Cardinal doubled-down on profiting from an opioid epidemic, and did so in the

             Rockwall County opioid epidemic.


             248
                 Eric Eyre, “Suspicious” Drug Order Rules Never Enforced by State, Charleston Gazette Mail, Dec. 18, 2016,
             available at www.wvgazettemail.com.
             249
                 Id.
             250
                 See Eyre, supra.

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                     271.     No later than 2011, all Distributor Defendants knew there was a public health crisis

             throughout America created by opioid use. In 2011, the CDC announced that very thing. And in

             2017, the Sulphur Spring News-Telegram announced a “PANDEMIC” of opioid addiction in

             America that included Rockwall County. 251

                     272.     Texas law specifically requires that dispensers like Distributor Defendants monitor

             opioid prescription orders and to refuse to fill prescription orders for opioids that are without valid

             medical purpose. In spite of the existence of an opioid epidemic in Rockwall County, and the fact

             that Distributor Defendants knew or should have known of that epidemic, Distributor Defendants

             continued to fill each opioid prescription order in Rockwall County, including those that were

             without valid medical purpose--thus stoking the epidemic. 252

                     273.     The Distributor Defendants publicly but inaccurately portrayed themselves as

             committed to working to prevent diversion of dangerous drugs. For example, Defendant Cardinal

             claims that: “We challenge ourselves to best utilize our assets, expertise and influence to make our

             communities stronger and our world more sustainable, while governing our activities as a good

             corporate citizen and with a belief that doing ‘the right thing’ serves everyone.” Defendant

             Cardinal likewise claims to “lead [its] industry in anti-diversion strategies to help prevent opioids

             from being diverted for misuse or abuse.” Along the same lines, it claims to “maintain a

             sophisticated, state-of-the-art program” to identify and block orders that do not meet a strict

             criteria. Defendant Cardinal also promotes funding it provides for “Generation Rx,” which funds

             grants related to prescription drug misuse. A Cardinal executive recently claimed that Cardinal

             uses “advanced analytics” to monitor its supply chain; Cardinal assured the public it was being “as


             251
                 Kerry Craig, PANDEMIC - Opioid Addiction Results in one Woman’s Daily Struggle, Sulphur Springs News-
             Telegram, Oct. 7, 2017, available at https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-
             s-daily-struggle/article_bded4eoa-ab80-11e7-a252-d3f304e26628.html.
             252
                 CDC, Prescription Painkiller Overdoses at Epidemic Levels, Nov. 1, 2011, www.cdc.gov.

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             effective and efficient as possible in constantly monitoring, identifying, and eliminating any

             outside criminal activity.”

                      274.    Along the same lines, Defendant McKesson publicly claims that its “customized

             analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

             every step of the supply chain process,” creating the impression that McKesson uses this tracking

             to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-class

             controlled substance monitoring program to help identify suspicious orders,” and claimed it is

             “deeply passionate about curing the opioid epidemic in our country.”

                      275.    Defendant AmerisourceBergen, too, has taken the public position that it is

             “work[ing] diligently to combat diversion” and is working with partners in pharmaceutical and

             healthcare delivery to help find solutions that will support appropriate access while limiting

             misuse. A company spokeswoman also provided assurance that: “At AmerisourceBergen, we are

             committed to the safe and efficient delivery of controlled substances to meet the medical needs of

             patients.”

                      276.    In furtherance of their effort to affirmatively conceal their conduct and avoid

             detection, the Defendants, through their trade associations, Healthcare Distribution Management

             Association (HDMA) 253 and National Association of Chain Drugstores (NACDS), filed an amicus

             brief in Masters Pharmaceuticals, which claimed that HDMA and NACDS members guard against

             diversion of controlled prescription drugs as responsible members of society, and that,

             “Distributors take seriously their duty to report suspicious orders, utilizing both computer

             algorithms and human review to detect suspicious orders based on the generalized information that




             253
                Now known as the Healthcare Distribution Alliance (HDA), a trade association of pharmaceutical distributors to
             which Distributor Defendants belong.

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             is available to them in the ordering process.” 254

                      277.    Distributor Defendants made broad promises to change their ways and insisted that

             they sought to be good corporate citizens. Yet, in 2017, even though McKesson had been

             sanctioned in 2008 for failure to comply with its legal obligations regarding controlling diversion

             and reporting suspicious orders, and even though McKesson had specifically agreed in 2008 that

             it would no longer violate those obligations, McKesson continued to violate the laws in contrast

             to its written promise not to do so.

                      278.    In 2017, Distributor Defendant McKesson publicly acknowledged its essential duty

             to monitor and to curb to therapeutic levels its distribution of opioid drugs. The chairman and chief

             executive officer of McKesson, John H. Hammergren, has said: “Pharmaceutical distributors play

             an important role in identifying and combatting prescription drug diversion and abuse…

             McKesson, as the nation’s largest distributors, takes our role seriously.” 255

                      279.    In an October 31, 2017 letter to Chris Christie, Chair of the President’s Commission

             on Fighting the Drug and Opioid Crisis, Mr. Pete Slone, the Senior Vice President, Public Affairs,

             of McKesson admitted that the opioid crisis was the “public health crisis of our times” and was

             affecting communities at alarming rates.              256
                                                                      Mr. Slone stated that both manufacturers and

             distributors should address the complicated opioid heath crisis. 257 Certainly in public McKesson

             admits its responsibility and duty to the public with regard to distributing and disbursing opioids.

             It is only when McKesson is named in a lawsuit that it is suddenly blameless and has no



             254
                  Brief for HDMA and NACDS, Masters Pharms., Inc. v. U.S. Drug Enf’t Admin., Case No. 15-1335, 2016 WL
             1321983 (D.C. Cir. April 4, 2016), at *3-4, *25.
             255
                 Charles Ornstein, Drug Distributors Penalized for Turning Blind Eye in Opioid Epidemic, APR, Health News, Jan.
             27, 2017; Letter from Pete Slone, Senior Vice President, Public Affairs, of McKesson, to The Honorable Chris Christie
             dated October 31, 2017.
             256
                 Pete Slone Letter, supra.
             257
                 Id.

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             responsibilities in stemming the tide of the opioid epidemic it helps fuel.

                      280.   Amerisource agrees it has the same essential duty to monitor and to refrain from

             supplying suspicious opioid prescribing. On December 14, 2017, a press release announced that

             Amerisource, as a global healthcare solutions leader, “plays a critical role in the pharmaceutical

             supply chain, working as a link between manufacturers and healthcare providers to help patients

             have access to the medications they need, when they need them.” 258 (Emphasis added).

                      281.   Indeed, Amerisource’s website is dedicated to its role as the “core strength” in U.S.

             drug distribution citing its “[t]remendous cash generation” and its “[d]iverse base of high quality

             provider customers.” 259 Recognizing that the opioid epidemic could strike as many as 650,000

             Americans over the next decade, Amerisource’s CEO, Steve Collis, has assured the public that

             distributors like Amerisource are responsible for safely delivering medication to pharmacies given

             its “unique perspective into how [the] supply chain works.” 260

                      282.   Mr. Collis agrees with people who are “rightfully demanding action on this tragic

             issue” and agrees to “push forward practical solutions that can yield results in the near-term on

             opioids.” 261 Remarking that it is “difficult to avoid the epidemic of opioid abuse,” Mr. Collis adds

             that the opioid crisis is “demands attention, action, and accountability.” 262Mr. Collis explains that

             large pharmaceutical distribution companies, of which Amerisource is one, should be held

             accountable because “nearly every prescription in the United States moves through distributors




             258
                 AmerisourceBergen Foundation, AmerisourceBergen Foundation Launches Municipal Support Program to Help
             Combat Opioid Abuse, Dec. 14, 2017 press release.
             259
                 Amerisource Bergen, Distributor’s Duty, www.amerisourcebergen.com.
             260
                 Steven H. Collis, Sound Policy and More Transparency can Help Companies Fight the Opioid Crisis, Politics,
             Dec. 15, 2017.
             261
                 Id.
             262
                   Steve Collis, The Surprising Morality of Opioid Distribution, Sept. 18, 2017, available at
             https://www.amerisourcebergen.com/abcnew/fighting-the-opioid-epidemic.

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             who purchase drugs from pharmaceutical manufacturers and sell them to pharmacies….” 263 Mr.

             Collis explains that distributors like Amerisource “must create a supply chain that is safe and

             secure.” 264 Mr. Collis even admits that as more opioid-based pain treatments were prescribed, more

             opioids were distributed. 265 The same views are expressed on Amerisource’s website. 266

                      283.    On its website, Amerisource demonstrates that Distributor Defendants’ ability to

             create a safe and secure supply chain is possible through “complex algorithms to identify and stop

             orders that are deemed to be suspicious.” 267 Mr. Collis admits that Amerisource has “reported and

             stopped tens of thousands of suspicious orders since 2007, not to mention countless other orders

             that pharmacies never had the opportunity to place because [Amerisource] declined to service them

             altogether.” 268 But not in Rockwall County.

                      284.    Cardinal acknowledges on its website that the “opioid abuse crises dates back

             decades” and is due to “changes in prescribing patterns” for pain. 269 Like McKesson, Cardinal

             admits that the opioid epidemic is a “serious and complex” public health issue. 270

                      285.    Cardinal has been aware of this public health crisis for many years because it tracks

             and reports CDC opioid prescription and overdose death data. For example, Cardinal cites the fact

             that in 2015, 4.4 billion opioid prescriptions were filled, which equals about 12 prescriptions per

             person in the United States. 271 Out of these prescriptions, 11% were prescribed following surgery,

             injury, or for health conditions such as cancer. 272 Moreover, Cardinal recites that 1 in 4 patients



             263
                 Id.
             264
                 Id.
             265
                 Id.
             266
                 https://www.amerisourcebergen.com/abcnew/fighting-the-opioid-epidemic.
             267
                 Id.
             268
                 Id. (emphasis added).
             269
                 Cardinal Health, No Demographic Group is Immune to this Crisis, www.cardinalheatlh.com.
             270
                 Id.
             271
                 Id.
             272
                 Id.

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             using opioids long-term in a primary care situation struggle with opioid addiction. 273 Cardinal is

             also aware that in 2015, according to the CDC, there were more than 33,000 deaths that involved

             prescribed and non-prescribed opioids, and that opioid overdoses have quadrupled since 1999. 274

                      286.    To deny such knowledge would be to deny Cardinal’s role. Cardinal is part of a

             “multi-faceted and highly regulated healthcare system” in which “everyone in that chain, including

             [Cardinal] must do their part.” 275 Cardinal believes it has a responsibility to provide a safe and

             secure channel to deliver medications, such as opioids. 276 This belief is underscored by Cardinal’s

             Opioid Acton Program: Reclaiming Our Communities in which Cardinal states on its website that

             it operates a “state-of-the-art, constantly adaptive system to combat opioid diversion.” 277 Cardinal

             claims it knows its pharmacy customers and uses a “multi-factor process to evaluate pharmacies”

             even before the pharmacies become Cardinal’s customers. 278 To identify diversion and flag

             suspicious activity, Cardinal “engage[s] directly with pharmacists to understand their business,

             their purchasing patterns, the ration of controlled to non-controlled substances ordered and the

             demographics of their customers.” 279 As a result, not only could Cardinal identify the suspicious

             ordering patterns in Rockwall County, it had the power to stop the influx of opioids into Rockwall

             County.

                      287.    Cardinal electronically monitors every order prior to fulfillment, especially



             273
                 Id.
             274
                 Id.
             275
                 Cardinal Health, Cardinal Health’s Commitment to Opioid Anti-Diversion, Education and Misuse Prevention,
             www.cardinalhealth.com.
             276
                 Cardinal Health, No Demographic Group, supra.
             277
                 Cardinal Health, Opioid Action Program: Reclaiming our Communities, www.cardinalhealth.com.
             278
                  Id. (making announced and unannounced site visits to pharmacies, which also includes hiring independent
             investigators specializing in pharmacy diversion and surveillance).
             279
                  Id.; Cardinal also uses an investigative team to perform on-the-ground investigations to determine whether
             heightened scrutiny is necessary. Id. For high-volume orders or orders that flag additional scrutiny, Cardinal has a
             senior committee of anti-diversion experts who recommend safeguards, which can include ending a business
             relationship with a customer or denying a business relationship with a new customer. Id.

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             controlled substances. 280 As a distributor, Cardinal has access to, and checks, the requisite

             information to see “whether the order deviates from historic ordering patterns in [Cardinal’s] strict

             anti-diversion standards.” 281 Suspicious orders are flagged for further “scrutiny and evaluation,

             including potentially canceling the order.” 282

                      288.    Cardinal states on its website that it “refuse[s] to supply controlled substances to

             any pharmacy customer where [Cardinal] believe[s] there is an unreasonable risk of medication

             diversion.” 283 This refusal is part of Cardinal’s commitment to help solve the “complex national

             public health crisis.” 284 Yet Cardinal continued to supply opioids to pharmacies in Rockwall

             County despite the data it reviewed.

                      289.    Distributor Defendants knew their duty. Distributor Defendants had the means to

             carry out their duty and claim to have successfully done so at times in the past. Distributor

             Defendants acknowledge that their duty is ongoing. With regards to opioids, however, Distributor

             Defendants continuously evade their gatekeeping duties, including but not limited to, in Rockwall

             County.

                      290.    According to The Charleston Gazette-Mail, Distributor Defendants shipped nearly

             9 million hydrocodone pills over two years to one pharmacy in the town of Kermit, West

             Virginia. 285 Kermit, West Virginia has a population of 392. Drug wholesalers distributed 780

             million pills of oxycodone and hydrocodone in the state over six years. According to the Gazette,

             “[t]he unfettered shipments amount to 433 pain pills for every man, woman and child in West



             280
                 Id.
             281
                 Id.
             282
                 Id.
             283
                 Cardinal Health, Cardinal Health’s Commitment, supra.
             284
                 Id.
             285
                 Charles Ornstein, Drug Distributors Penalized for Turning Blind Eye in Opioid Epidemic, APR, Health News, Jan.
             27, 2017.

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             Virginia.” 286

                      291.    Refusing to take action or turning a blind eye to suspicious spikes in opioid

             prescriptions has for the Distributor Defendants simply become a pesky cost of doing business.

             McKesson and Cardinal did not take sufficient heed of the multi-million dollar fines each had paid

             in 2008. McKesson agreed to pay a $150 million fine on January 17, 2017. Cardinal Health reached

             a $44 million settlement in December 2016; Cardinal also agreed in January 2017 to pay $20

             million to the state of West Virginia; and Amerisource agreed to pay $16 million to the state of

             West Virginia. 287

                      292.    According to a 60 Minutes/Washington Post joint investigation, “[t]he

             pharmaceutical industry is doing everything it can to keep [the opioid] epidemic going.” 288

             McKesson certainly did not recognize any sort of “due diligence” while it was providing “millions

             and millions and millions of pills to countless pharmacies through the United States.” 289 Since the

             1990s, McKesson has made billions from distributing addictive opioids. 290 McKesson has admitted

             that when it came to the opioid crisis and pills flooding American communities, there was plenty

             of blame to go around, including drug makers, other distributors, doctors, and pharmacies. 291

                      293.    If McKesson had used their authority in the supply chain, the opioid epidemic

             would not be “nowhere near” where it is today. 292 In McKesson’s role as a distributor, not a day

             went by that something suspicious was not happening, but McKesson never reported any




             286
                 Id.
             287
                 Ornstein, supra.
             288
                 60 Minutes, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s Largest Drug Distributor,
             CBS News, Dec. 17, 2017.
             289
                 Id.
             290
                 Id.
             291
                 Id.
             292
                 Id.

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             suspicious activity, according to the 60 Minutes investigation. 293 McKesson “fueled the explosive

             prescription drug abuse problem in this country.” 294

                      294.     McKesson repeatedly filled suspicious orders of the most commonly abused and

             prescribed opioid drugs oxycodone and hydrocodone. 295 McKesson, as did other Distributor

             Defendants, failed in their duty to act and also violated the Texas Controlled Substances Act.

                      295.     Distributor Defendants have knowingly distributed, delivered, or dispensed a

             controlled substance in violation of the Texas Controlled Substances Act §481.128(a)(1).

             Distributor Defendants dispensed or delivered a controlled substance without any valid medical

             purpose. Tex. Health & Safety Code §481.071. Upon information and belief, Distributor

             Defendants knew of or had notice of a suspicious rise in the prescribing of opioids in Rockwall

             County, but chose to open opioid floodgates rather than regulate them. Pill-mill doctors need

             Distributors to be complicit in the over-supply of opioids. Distributor Defendants were so, causing

             damages to Rockwall County.

                      296.     Distributor Defendants were in a unique position to see the results of Manufacturing

             Defendants’ fraudulent marketing scheme. Distributor Defendants knew or should have known

             that there was a sharp increase in the prescription and distribution of opioids. Distributor

             Defendants undertook the responsibility to prevent opioids from being dispensed or disbursed for

             diversionary purposes − with a multi-faceted system to monitor and prevent they developed long

             ago, according to their own published public proclamations – and breached that duty. Like

             Manufacturing Defendants, Distributor Defendants chose profits over duty, in breach of duty.

             I.       Defendants Coordinated their Efforts to Deceive the Public.



             293
                 60 Minutes, supra.
             294
                 Too Big to Prosecute, supra.
             295
                 Id.

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                         303.   Manufacturing Defendants engaged in the practice of paying rebates and/or

             chargebacks to the Distributor Defendants for sales of prescription opioids as a way to help them

             boost sales and better target their marketing efforts. The Washington Post has described the

             practice as industry-wide, and the HDA includes a “Contracts and Chargebacks Working Group,”

             suggesting a standard practice.

                         304.   Defendants worked together to achieve their common purpose through trade or

             other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

                         305.   The PCF has been described as a coalition of drug makers, trade groups and dozens

             of non-profit organizations supported by industry funding.

                         306.   The Distributor Defendants actively participated, and continue to participate in the

             PCF, at a minimum, through their trade organization, the HDA.

                         307.   The HDA led to the formation of interpersonal relationships and an organization

             among the Defendants. The HDA and each of the Distributor Defendants eagerly sought the active

             membership and participation of the Manufacturing Defendants by advocating for the many

             benefits of members, including “strengthen[ing] . . . alliances.” 296

                         308.   Beyond strengthening alliances, the benefits of HDA membership included the

             ability to, among other things, “network one on one with manufacturer executives at HDA’s

             members-only Business and Leadership Conference,” “networking with HDA wholesale

             distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

             “participate on HDA committees, task forces and working groups with peers and trading partners,”

             and “make connections.” 297


             296
                Manufacturer Membership, Healthcare Distribution Alliance,
             https://www.hda.org/about/membership/manufacturer.
             297
                   Id.

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                        309.     The HDA application also requests that the manufacturer identify its current

             distribution information, including the facility name and contact information. Manufacturer

             members were also asked to identify their “most recent year end net sales” through wholesale

             distributors, including AmerisourceBergen, Cardinal Health, and McKesson.

                        310.     The HDA also offers a multitude of conferences. The Manufacturing Defendants

             embraced this opportunity by attending and sponsoring these events. 298

                        311.     After becoming members of HDA, Defendants were eligible to participate on

             councils, committees, task forces and working groups, including the Industry Relations Council,

             Business Technology Committee, Logistics Operation Committee, Manufacturer Government

             Affairs Advisory Committee, and Contracts and Chargebacks Working Group.

                        312.     The Distributor and Manufacturing Defendants also participated, through the HDA,

             in Webinars and other meetings designed to exchange detailed information regarding their

             prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

             invoices. For example, on April 27, 2011, the HDA offered a Webinar to “accurately and

             effectively exchange business transactions between distributors and manufacturers . . . .” The

             Manufacturing Defendants used this information to gather high-level data regarding overall

             distribution and direct Distributor Defendants on how to most effectively sell prescription opioids.

                        313.     Publications and guidelines issued by the HDA confirm that the Defendants utilized

             their membership in the HDA to form agreements. Specifically, in the fall of 2008, the HDA

             published the Industry Compliance Guidelines: Reporting Suspicious Orders and Preventing

             Diversion of Controlled Substances regarding diversion. As the HDA explained in an amicus brief,

             the Industry Compliance Guidelines were the result of “[a] committee of HDMA members


             298
                   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance.

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             contribut[ing] to the development of this publication” beginning in late 2007.

                                                 VII. CAUSES OF ACTION

                 NEGLIGENT AND/OR INTENTIONAL CREATION OF A PUBLIC NUISANCE
                    AGAINST MANUFACTURING AND DISTRIBUTOR DEFENDANTS

                    314.    Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                    315.    Manufacturing Defendants knowingly encouraged doctors in and around Rockwall

             County to prescribe, and residents to use, highly addictive opioids for chronic pain even though

             Manufacturing Defendants knew using opioids had a high risk of addiction and reduced quality of

             life. Distributor Defendants knew or should have known that many of those prescription orders

             were not for a valid medical purpose. Nevertheless, Distributor Defendants continued to disburse

             and distribute opioids even though upon information and belief, the evidence would suggest

             suspicion for diversionary purposes.

                    316.    By doing so, Defendants purposefully interfered with Rockwall County’s public

             health, public safety, public peace, public comfort, and public convenience.

                    317.    Defendants, individually and in concert with each other, have contributed to and/or

             assisted in creating and maintaining a condition that is harmful to the health and safety of Rockwall

             County residents, and/or unreasonably interferes with the peace and comfortable enjoyment of life

             in violation of Texas law.

                    318.    The public nuisance created by Defendants’ actions is substantial and unreasonable

             – it has caused and continues to cause significant harm to the community – and the harm inflicted

             outweighs any offsetting benefit.

                    319.    The staggering rates of opioid use resulting from Manufacturing Defendants’

             marketing efforts, combined with the high number of opioids distributed by Distributor


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             Defendants, have caused, and continues to cause, harm to the community including, but not limited

             to:

                            a)           Upwards of 30% of all adults use opioids. These high rates of use have
                                   led t o unnecessary opioid addiction, overdose, injuries, and deaths;

                            b)           Children have been exposed to opioids prescribed to family members
                                   or others resulting in injury, addiction, and death. Easy access to
                                   prescription opioids has made opioids a recreational drug of choice among
                                   Rockwall County teenagers; opioid use among teenagers is only outpaced
                                   by marijuana use. Even infants have been born addicted to opioids due to
                                   prenatal exposure causing severe withdrawal symptoms and lasting
                                   developmental impacts;

                            c)            Residents of Rockwall County, who have never taken opioids, have
                                   endured both the emotional and financial costs of caring for loved ones
                                   addicted to or injured by opioids and the loss of companionship, wages, or
                                   other support from family members who have used, become addicted to,
                                   overdosed on, or been killed by opioids;

                            d)          More broadly, opioid use and addiction have driven Rockwall County
                                   residents’ health care costs higher;

                            e)           Employers have lost the value of productive and healthy employees
                                   who have suffered from adverse consequences from opioid use;

                            f)         Defendants’ success in extending the market for opioids to new patients
                                   and chronic conditions has created an abundance of drugs available for
                                   criminal use and fueled a new wave of addiction and injury. Defendants’
                                   scheme created both ends of a new secondary market for opioids –
                                   providing both the supply of narcotics to sell and the demand of addicts to
                                   buy them;

                            g)              This demand has created additional illicit markets in other opiates,
                                   particularly heroin. The low cost of heroin has led some of those who
                                   initially become addicted to prescription opioids to migrate to cheaper
                                   heroin, fueling a new heroin epidemic in the process;


                            h)         Diverting opioids into secondary, criminal markets and increasing the
                                   number of individuals who are addicted to opioids has increased the
                                   demands on emergency services and law enforcement in Rockwall County;

                            i)             All of Defendants’ actions have caused significant harm to the
                                   community – in lives lost; addictions endured; the creation of an illicit drug

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                                    market and all its concomitant crime and costs; unrealized economic
                                    productivity; and broken families and homes;

                            j)               These harms have taxed the human, medical, public health, law
                                    enforcement, and financial resources of Rockwall County; and

                            k)            Defendants’ interference with the comfortable enjoyment of life of a
                                    substantial number of people is entirely unreasonable because there is
                                    limited social utility to opioid use and any potential value is outweighed by
                                    the gravity of harm inflicted by Defendants’ actions.

                    320.    Manufacturing Defendants knew, or should have known, that promoting opioid use

             would create a public nuisance in the following ways:

                            a)              Defendants have engaged in massive production, promotion, and
                                    distribution of opioids for use by the citizens of Rockwall County;

                            b)      Defendants’ actions created and expanded the market for opioids,
                                    promoting its wide use for pain management;

                            c)             Defendants misrepresented the benefits of opioids for chronic pain
                                    and fraudulently concealed, misrepresented, and omitted the serious
                                    adverse effects of opioids, including the addictive nature of the drugs; and

                            d)            Defendants knew, or should have known, that their promotion
                                    would lead to addiction and other adverse consequences that the larger
                                    community would suffer as a result.

                    321.    Manufacturing Defendants’ actions were, at the least, a substantial factor in doctors

             and patients not accurately assessing and weighing the risks and benefits of opioids for chronic

             pain thereby causing opioids to become widely available and used in Rockwall County.

                    322.    Without Defendants’ actions, opioid use would not have become so widespread and

             the enormous public health hazard of opioid addiction would not have existed and could have been

             averted.

                    323.    The health and safety of the citizens of Rockwall County, including those who use,

             have used, or will use opioids, as well as those affected by opioid users, is a matter of great public

             interest and legitimate concern to Rockwall County’s citizens and residents. It was foreseeable to

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             all Defendants that the burden of the opioid crisis would fall to counties like Rockwall County in

             the form of social and economic costs. Specifically, it was foreseeable that Rockwall County

             would sustain damages as an employer obligated to provide healthcare coverage to its employees

             and as a local government obligated to provide public services to its citizens.

                    324.    The public nuisance created, perpetuated, and maintained by Defendants can be

             abated and further reoccurrence of such harm and inconvenience can be prevented.

                    325.    Defendants’ conduct has affected and continues to affect a considerable number of

             people within Rockwall County and is likely to continue to cause significant harm to patients who

             take opioids, their families, and the community at large.

                    326.    Each Defendant created or assisted in creating the opioid epidemic, and each

             Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should be

             enjoined from continuing to create, perpetuate, or maintain said public nuisance in Rockwall

             County. Furthermore, Defendants should compensate Rockwall County for the funds it has

             expended and continues to expend for medical insurance claims for opioids that were not medically

             valid, as well as increased costs of social services, health systems, law enforcement, judicial

             system, and treatment facilities.

                              COMMON LAW FRAUD AGAINST ALL DEFENDANTS

                    327.    Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                    328.    At all relevant and material times, Defendants expressly and/or impliedly warranted

             that opioids were safe, of merchantable quality, and fit for use.

                    329.    Manufacturing Defendants’ superior knowledge and expertise, its relationship of

             trust and confidence with doctors and the public, its specific knowledge regarding the risks and



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             dangers of opioids, and its intentional dissemination of promotional and marketing information

             about opioids for the purpose of maximizing sales, each gave rise to the affirmative duty to

             meaningfully disclose and provide all material information about the risks and harms associated

             with opioids.

                    330.     At all relevant and material times, Manufacturing Defendants, individually and

             acting through their employees and agents, and in concert with each other, fraudulently represented

             to physicians, who Defendants knew would justifiably rely on Manufacturing Defendants’

             representations, that opioids were safe and effective for treating chronic pain.

                    331.     Manufacturing Defendants’ false representations were fraudulently made, with the

             intent or purpose that healthcare providers and patients would justifiably rely upon them, leading

             to the prescription, administration, filling, purchasing, and consumption of opioids in Rockwall

             County.

                    332.     Distributor Defendants knowingly and deliberately took advantage of the

             Manufacturing Defendants’ false and fraudulent representations to disburse and distribute an

             immense amount of opioids in Rockwall County.

                    333.     Distributor Defendants made representation that they were taking action to prevent

             the opioid oversupply and abuse while recognizing they were in a unique position to do so.

             Rockwall County relied on Distributor Defendants to act as a gatekeeper in the supply chain as

             they represented to the public.

                    334.     Defendants’ deliberate misrepresentations and/or concealment, suppression, and

             omission of material facts as alleged herein include, but are not limited to:

                             a)          Making false and misleading claims regarding the known risks of the
                                    addictive nature of opioids and suppressing, failing to disclose, and
                                    mischaracterizing the addictive nature of opioids and in concomitant costs,
                                    such as overdoses, deaths, and heroin addiction;

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                            b)           Making false and misleading written and oral statements that opioids
                                   are more effective than traditional pain killers for chronic pain, or effective
                                   at all and/or omitting material information showing that opioids are no
                                   more effective than other non-addictive drugs for chronic pain;

                            c)         Issuing false and misleading warnings and/or failing to issue adequate
                                   warnings concerning the risks and dangers of using opioids;

                            d)         Making false and misleading claims downplaying the risk of addiction
                                   when using opioids and/or setting forth guidelines that would purportedly
                                   identify addictive behavior;

                            e)         Making false and misleading misrepresentations concerning the safety,
                                   efficacy and benefits of opioids without full and adequate disclosure of the
                                   underlying facts which rendered such statements false and misleading; and

                            f)              Disbursing and distributing opioids when suspicion existed that
                                   opioids were being diverted.

                    335.    Defendants willfully, wantonly, and recklessly disregarded their duty to provide

             truthful representations regarding the safety and risk of opioids and distributed and disbursed

             opioids, including the fact that upon information and belief, there was suspicion for diversionary

             purposes.

                    336.    Defendants made these misrepresentations with the intent that the healthcare

             community and patients would rely to their detriment.

                    337.    Defendants’ misrepresentations were made with the intent of defrauding and

             deceiving the medical community and consumers to induce and encourage the sale of opioids.

                    338.    Defendants’ fraudulent representations evidence their callous, reckless, willful, and

             depraved indifference to the health, safety, and welfare of consumers living in Rockwall County.

                    339.    Defendants omitted, misrepresented, suppressed and concealed material facts

             concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact

             that the product was unreasonably dangerous.



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                    340.    Public statements by the Defendants and their associates created the false and

             misleading impression to regulators, prescribers, and the public that the Defendants rigorously

             carried out their legal duties, including their duty to report suspicious orders and exercise due

             diligence to prevent diversion of these dangerous drugs, and further created the false impression

             that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

             responsibility to the communities their business practices would necessarily impact.

                    341.    Defendants’ purpose was willfully blind to, ignored, downplayed, avoided, and/or

             otherwise understated the serious nature of the risks associated with the use of opioids.

                    342.    Defendants’ failure to stem, rather than fuel spikes of opioid sales was intended to

             encourage the sale of opioids, even if the circumstances provided suspicion for diversionary

             purposes.

                    343.    The treating medical community and consumers in Rockwall County did not know

             that Defendants’ representations were false and/or misleading and justifiably relied on them.

                    344.    Defendants had sole access to material facts concerning the dangers and

             unreasonable risks of opioids, which they intentionally concealed.

                    345.    As a direct and proximate result of Defendants’ fraudulent misrepresentations and

             intentional concealment of facts, upon which the medical community and consumers in Rockwall

             County reasonably relied, Rockwall County suffered actual and punitive damages.

              NEGLIGENCE AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

                    346.    Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                    347.    Manufacturing Defendants have a duty to exercise reasonable care in marketing its

             opioids to physicians treating residents of Rockwall County and Rockwall County residents.



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             Manufacturing Defendants have breached their duty by knowingly and fraudulently

             misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

                    348.    Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

             Groups, and other schemes to increase profits at the cost of public health causing an opioid

             epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.

                    349.    Likewise, Distributor Defendants have a duty to exercise ordinary care in

             distributing opioids. Distributor Defendants have breached their duty by failing to prevent or

             reduce the distribution of opioids even if there existed suspicion for diversionary purposes.

             Distributor Defendants have intentionally failed to prevent or reduce the distribution of opioids so

             that they could increase profits. Distributor Defendants have acted willfully, wantonly, and

             maliciously.

                    350.    As a proximate result, Manufacturing and Distributor Defendants and its agents

             have caused Rockwall County to incur excessive costs to treat the opioid epidemic in its county

             including, but not limited to, increased costs of social services, health systems, law enforcement,

             judicial system, and treatment facilities. It was foreseeable to all Defendants that the burden of the

             opioid crisis would fall to counties like Rockwall County in the form of social and economic costs.

             Specifically, it was foreseeable that Rockwall County would sustain damages as an employer

             obligated to provide healthcare coverage to its employees and as a local government obligated to

             provide public services to its citizens.

                    351.    Rockwall County and its residents are therefore entitled to actual and punitive

             damages.

                  GROSS NEGLIGENCE AGAINST MANUFACTURING AND DISTRIBUTING
                                        DEFENDANTS

                    352.    Rockwall County re-alleges and incorporates by reference each of the allegations


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             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                     353.    Defendants’ marketing scheme to optimize profits by misrepresenting and falsely

             promoting opioids as the panacea to chronic pain was done intentionally.

                     354.    Defendants’ hiring of KOLs, Front Groups, and others to spread its fraudulent

             message that opioids were useful and beneficial for chronic pain was grossly negligent and done

             with conscious indifference or reckless disregard for the safety of others.

                     355.    Distributor Defendants’ distribution of opioids despite the obvious signs that there

             was no valid medical purpose for a large number of prescriptions for opioids was grossly negligent

             and done with conscious indifference or reckless disregard for the safety of others.

                     356.    Each Defendant’s actions and omissions as described herein, singularly or in

             combination with each other, were malicious resulting in damages and injuries to Rockwall County

             and its residents.

                     357.    At every stage, Defendants knew, or should have known, that their conduct would

             create an unreasonable risk of physical harm to others, including Rockwall County and its

             residents, and should be held liable in punitive and exemplary damages to Rockwall County.

                TEXAS CONTROLLED SUBSTANCES ACT (“TCSA”) AGAINST DISTRIBUTOR
                           DEFENDANTS AND INDIVIDUAL DEFENDANTS

                     358.    Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                     359.    Distributor Defendants have knowingly distributed, delivered, administered, or

             dispensed a controlled substance in violation of the Texas Controlled Substances Act

             §481.128(a)(1) by dispensing or delivering a controlled substance, or causing a controlled

             substance to be administered, when there is no valid medical purpose. Tex. Health & Safety Code

             §481.071.


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                     360.      As alleged herein, each Distributor Defendant, at all times relevant to this

             Complaint, had a duty to monitor the flow of opioids by acting as a gatekeeper between physicians

             and pharmacies and patients. Distributor Defendants wholly failed in its duty and knew, or should

             have known, that they were distributing or disbursing opioids without a valid medial purpose.

                     361.      Moreover, Distributor Defendants’ failure to rein in the endless supply of opioids

             was reasonably calculated to deceive practitioners treating Rockwall County residents into

             prescribing opioids without any valid medical purpose, and Distributor Defendants continue to do

             so to this day.

                     362.      Individual Defendants prescribed opioids without a valid medical purpose in

             violation of Texas Health & Safety Code Section 481.071(a).

                     363.      As a direct and proximate cause of Distributor Defendants’ and Individual

             Defendants’ deceptive conduct, Rockwall County should be awarded civil penalties pursuant to

             the Texas Controlled Substances Act.

                TEXAS CONTROLLED SUBSTANCES ACT (“TCSA”) AGAINST DISTRIBUTOR
                                               DEFENDANTS
                   365. Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                     366.      Distributor Defendants have knowingly distributed opioids even though it had

             reason to suspect that the opioids were being diverted, or suspicion for diversionary purposes.

                     367.      As alleged herein, each Distributor Defendant, at all times relevant to this

             Complaint, has stated in public through its agents and on its websites that they act as gatekeepers

             between physicians and pharmacies and patients. In fact, Distributor Defendants have called their

             role in the chain of supply critical to stopping suspicious opioid prescribing and assisting in

             stopping the opioid epidemic.



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                     368.     For many years, Distributor Defendants have had the ability to track prescription

             orders and they have undertaken the duty to exercise reasonable care to track and halt any and all

             suspicious opioid prescriptions. Distributor Defendants claim they have stopped tens of thousands

             of prescriptions suspected of diversion while admitting that the opioid epidemic is a serious public

             health crisis.

                     369.     But Distributor Defendants have breached its duty by failing to track and halt the

             overwhelming supply of opioids into Rockwall County despite its layers of oversight and

             commitment to provide a safe and secure channel to deliver medications, including opioids.

             Distributor Defendants have intentionally failed to prevent or reduce the distribution of opioids so

             that they could increase profits and have done so willfully, wantonly, and maliciously.

                     370.     As a proximate result, Distributor Defendants and its agents have caused Rockwall

             County to incur excessive costs to treat the opioid epidemic in its county including, but not limited

             to, increased costs of social services, health systems, law enforcement, judicial system, and

             treatment facilities. It was foreseeable to all Defendants that the burden of the opioid crisis would

             fall to counties like Rockwall County in the form of social and economic costs. Specifically, it was

             foreseeable that Rockwall County would sustain damages as an employer obligated to provide

             healthcare coverage to its employees and as a local government obligated to provide public

             services to its citizens.

                     371.     Rockwall County and its residents are therefore entitled to actual and punitive

             damages.

                                UNJUST ENRICHMENT AGAINST ALL DEFENDANTS

                     372.     Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.



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                    373.    As an expected and intended result of their conscious wrongdoing as set forth in

             this Complaint, Defendants have profited and benefited from opioid purchases made by Rockwall

             County and its residents.

                    374.    When Rockwall County and its residents purchased opioids, they expected that

             Defendants had provided necessary and accurate information regarding those risks. Instead,

             Defendants had misrepresented the material facts regarding the risks and benefits of opioids and

             distributed or disbursed opioids even though, upon information and belief, there was suspicion for

             diversionary purposes.

                    375.    Defendants took undue advantage and received a benefit because the County bore

             the cost of the externalities of Defendants’ wrongful conduct. Moreover, the County had no choice

             and was effectively required to cover these costs to Defendants’ benefit.

                    376.    Defendants have been unjustly enriched at the expense of Rockwall County, and

             Rockwall County is therefore entitled to damages to be determined by the jury.

                                CIVIL CONSPIRACY AGAINST ALL DEFENDANTS

                    377.    Rockwall County re-alleges and incorporates by reference each of the allegations

             contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                    378.    Defendants engaged in a civil conspiracy in their unlawful marketing of opioids

             and/or distribution of opioids into Texas and Plaintiff’s community.

                    379.    Defendants engaged in a civil conspiracy to commit fraud and misrepresentation in

             conjunction with their unlawful marketing of opioids and/or distribution of opioids into Texas and

             Plaintiff’s community.

                    380.    Defendants unlawfully failed to act to prevent diversion and failed to monitor for,

             report, and prevent suspicious orders of opioids.



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                    381.    The Manufacturing Defendants further unlawfully marketed opioids in Texas and

             Plaintiff’s community in furtherance of that conspiracy.

                    382.    Defendants, in coordinated and concerted action with each other, engaged in a joint

             scheme to materially expand opioid use by altering the medical community’s prescribing practices

             of opioids through repeated fraudulent statements and misrepresentations. The Defendants used

             front groups, Key Opinion Leaders, and sale representatives to spread their false message under

             the guise of being authoritative and neutral third parties. Manufacturer and Distributor Defendants

             were not two separate groups operating in isolation or two groups forced to work together in a

             closed system, but rather, operated together as one united entity, working together on multiple

             fronts to engage in the unlawful sale of prescription opioids.

                    383.    Defendants acted with a common understanding or design to commit unlawful acts,

             as alleged herein, and acted purposely, without a reasonable or lawful excuse, which directly

             caused the injuries alleged herein.

                    384.    Defendants acted with malice, purposely, intentionally, unlawfully, and without a

             reasonable or lawful excuse.

                    385.    Defendants conduct in furtherance of the conspiracy described herein was not mere

             parallel conduct because each Defendant acted directly against their commercial interests in not

             reporting the unlawful distribution practices of their competitors to the authorities, which they had

             a legal duty to do. Each Defendant acted against their commercial interests in this regard due to

             an actual or tacit agreement between the Defendants that they would not report each other to

             the authorities so they could all continue engaging in their unlawful conduct.

                    386.    Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

             thereof, caused the direct and foreseeable losses alleged herein.



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                    387.    Defendants’ actions demonstrated both malice and also aggravated and egregious

             fraud. Defendants engaged in the Conduct alleged herein with a conscious disregard for the rights

             and safety of other persons, even though that conduct has a great probability of causing substantial

             harm. Manufacturing Defendants’ fraudulent wrongdoing was also particularly gross.

                    388.    Defendants’ misconduct alleged in this case is ongoing and persistent.

                    389.    Defendants’ misconduct alleged in this case does not concern a discrete event or

             discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

             part of the normal and expected costs of a local government’s existence. Plaintiff alleges wrongful

             acts which are neither discrete nor of the sort a local government can reasonably expect.

                    390.    Plaintiff has incurred expenditures for special programs over and above Plaintiff’s

             ordinary public services.

                    391.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

             injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and all

             damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre-and post-

             judgment interest.

                                                 PRAYER FOR RELIEF

                    WHEREFORE, Plaintiff respectfully prays:

                            a.      That the acts alleged herein be adjudged and decreed to be unlawful and
                                    that the Court enter a judgment declaring them to be so;

                            b.      That Defendants be enjoined from, directly or indirectly through KOLs,
                                    Front Groups or other third parties, continuing to misrepresent the risks and
                                    benefits of the use of opioids for chronic pain, and from continuing to
                                    violate Texas law;

                            c.      That Plaintiff recover all measures of damages, including punitive and
                                    exemplary damages, allowable under the law, and that judgment be entered
                                    against Defendants in favor of Plaintiff;



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                           d.       That Plaintiff recover restitution on behalf of Rockwall County consumers
                                    who paid for opioids for chronic pain;

                           e.       That Plaintiff recover the costs and expenses of suit, pre- and post-judgment
                                    interest, and reasonable attorneys’ fees as provided by law; and

                           f.       That Defendants be ordered to abate the public nuisance that they created
                                    in in violation of Texas common law.


                                                 JURY TRIAL DEMANDED

                        Plaintiff hereby demands a trial by jury.




             Date: April 10, 2019

                                                   Respectfully Submitted,


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